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                       Exhibit 14
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                           ISLAMIC SOCIAL WELFARE

                           ACTIVISM IN THE OCCUPIED

                           PALESTINIAN TERRITORIES:

                            A LEGITIMATE TARGET?
                                    2 April 2003




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                                     crisis group

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                  EXECUTIVE SUMMARY AND RECOMMENDATIONS

The 11 September 2001 attacks in the U.S. and                    such groups, or whether its educational teachings
revelations that the al-Qaeda network made                       promote intolerance or violence.
extensive use of charitable institutions to raise funds
for its operations, have reinforced concerns about the           Hamas activism presents a challenge to Palestinian
relationship between Islamic social welfare activism             and international policy-makers. It is a vital support
and terrorism. The Palestinian Islamic Resistance                for hundreds of thousands of Palestinians at a time
Movement (Hamas), which has conducted a series of                when renewed conflict with Israel has produced a
devastating armed attacks during the current                     growing humanitarian emergency. But at the same
conflict, particularly against Israeli civilian targets,         time it has helped create that emergency by its
and which supports an extensive network of social                escalation of indiscriminate bombing of civilian
welfare organizations in the West Bank and Gaza                  targets – attacks that, like all those that deliberately
Strip, has come in for particular scrutiny.                      violate the laws of armed conflict, ICG unreservedly
                                                                 condemns.
The concern that charitable activity and political
violence are connected is legitimate and raises                  The accusation that Hamas misuses Islamic
genuine policy dilemmas. These need to be                        charitable activities takes several forms. First, Hamas
addressed seriously but also with careful attention              is suspected of diverting charitable funds to finance
to distinctions and nuances rather than with a one-              its military infrastructure and activities. Secondly,
response-meets-all-contingencies           approach.             Islamic social welfare institutions affiliated with
Eradicating Islamic social welfare activism would                Hamas are charged with inciting violence and
be unlikely to reduce seriously Hamas military                   recruiting militants among beneficiaries of their
activity, its attacks against Israeli civilians, or              services. Thirdly, the existence of a network of social
indeed its proclaimed goal of eliminating the state              welfare organisations affiliated with Hamas, and the
of Israel. Rather, it would worsen the humanitarian              demonstrated capacity of this network to support
emergency, increasing both the motivation for                    groups neglected by the Palestinian Authority (PA)
Hamas to sustain its military campaign and popular               and international donors, are considered central to the
support for it. And, without substantial evidence                Islamist movement’s growing appeal and, therefore,
that welfare institutions systematically divert funds            to its ability to sustain a campaign of violence.
to support terrorist activity, it would be an
overbroad and indiscriminate response.                           Under pressure, the PA has taken some action. But
                                                                 too often it has sought mainly to assuage
Rather than a blanket ban, the test which should be              international opinion and fend off the Hamas threat
applied, by the international community and the                  to its own predominance rather than adopt a sound
Palestinian Authority alike, is whether the charitable           policy. It has periodically shut down Hamas-
institution in question can be shown to have                     affiliated charitable institutions only to allow them to
transferred monies to fund activities of paramilitary            reopen later, while not cracking down on the
organisations, whether it helps recruit members for              movement’s armed wing. Israel, meanwhile, has
                                                                 enhanced Hamas’s standing in the Palestinian
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community by actions that often go far beyond what               paramilitary activity that exists. Any decision to shut
security concerns could legitimately justify and                 down a social welfare institution or deny it funds
significantly worsen the humanitarian situation in the           should be closely based on proof that it either diverts
West Bank and Gaza. Palestinian unemployment,                    funds for illicit purposes, is a platform for recruitment
poverty, and malnutrition rates – soaring to levels              into Hamas’s military wing or incites violence.
unprecedented since 1967 – have contributed to
radicalisation of large segments of the population.              Rather than attack Islamic social welfare, a better
                                                                 response for those who seek to reduce its influence
The international community has been both                        is to establish an equally effective social welfare
inconsistent and inefficient. The U.S. seeks to ban all          network. Wholesale elimination of Hamas’s Islamic
assistance to Hamas-affiliated organisations; most of            social welfare sector would carry a heavy risk of
its Western partners, however, distinguish between               backfiring, fuelling more violence and terror, and
support for Hamas’s legitimate and illegitimate                  hurting a population already in a deteriorating
activity; and many Arab governments permit funds                 humanitarian emergency.
to be raised on their territory for Islamic social
welfare and Islamist militant organisations without              There are inherent limits to what can be done in an
distinction. At the same time, neither the West nor              environment of occupation, violence, closures and
the Arab world has provided sufficient humanitarian              virtual PA collapse to set up an alternative welfare
aid or persuaded Israel to loosen its stranglehold on            network, enforce rules against money laundering, or
the civilian population of the occupied Palestinian              institute more rigorous accounting practices.
territories.                                                     Genuine reform of the charitable sector, like much
                                                                 else, probably must await an end of the current
Any approach to the issue of Islamic charitable                  confrontation. On that, ICG has expressed its views:
institutions – whether independent or affiliated with            achieving a sustainable end to violence requires the
Hamas – must start from the premise that they are                international community to present and energetically
critical in Palestinian life. Hamas in particular has            promote a comprehensive endgame solution.1 Still,
since its inception invested heavily in charitable               in the absence of that step and within the boundaries
work and considers this central to its identity and              of the existing situation, there are a number of
purpose. With the onset of the intifada, the ensuing             measures that can be taken, as recommended below.
devastation of the PA and other harsh Israeli
measures, in particular closures, its welfare activity
has become more vital than ever. Roughly two-                    RECOMMENDATIONS:
thirds of Palestinians live below the poverty line, and
Islamic social welfare organisations, directly or                To the Palestinian Authority:
indirectly, provide emergency cash assistance, food
and medical care as well as educational and                      1.     Enforce its own laws, in particular Law N°1
psychological services, to perhaps one out of six. By                   on Charitable Societies and Civic Associations
most accounts, such institutions are more efficient                     (2000), and mandate, inter alia:
than their secular or official counterparts, delivering                  (a) the registration of all such organisations
aid without distinction as to religious belief or                            with the PA, and their operation in
political affiliation. Certainly, they are perceived as                      accordance         with       transparent
such by the Palestinian public.                                              organisational and financial procedures;

Over the longer run, the challenge is to steer the                       (b) the annual submission of detailed and
radical Islamist movement – an important component                           independently audited accounts of their
of Palestinian society – away from violence and                              finances and activities; and
terrorism, and toward a constructive role both in                        (c) revocation of the charitable status of
domestic Palestinian politics and in forging peace                           organisations that fail to operate in
between Israel and the Palestinians. Though success                          accordance with the law and with their
so far is elusive, the Egyptian-sponsored intra-                             own approved charters.
Palestinian dialogue is a significant attempt. For now,
the PA and the international community should
                                                                 1
focus on stopping Hamas’s attacks against civilian                See ICG Middle East Report N°2, Middle East Endgame I:
targets and whatever fund diversion to any violent or            Getting to a Comprehensive Arab-Israeli Peace Settlement,
                                                                 16 July 2002.
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2.    Ratify, and enforce, the draft law on zakat                       envoy and Israel’s obligations as an occupying
      committees currently before the Palestinian                       power:
      Legislative Council.
                                                                        (a) allow access by the population to basic
3.    Amend its own laws by, where applicable,                              services and needs, including medical
      bringing them into line with the                                      care, school and employment, by lifting
      recommendations on “Combating the Abuse of                            unduly harsh closures and curfews;
      Non-Profit       Organisations”        of    the
                                                                        (b) ensure accelerated shipment and
      intergovernmental Financial Action Task Force
                                                                            movement of humanitarian goods and
      on Money Laundering (FATF), particularly
                                                                            services, whether of Palestinian or
      with respect to financial transparency, program
                                                                            international origin, including ambulances,
      verification, administration, and oversight.
                                                                            water tankers and other aid supplies; and
4.    Establish an independent expert committee that
                                                                        (c) resolve the issue of purchase tax
      will both assist and actively monitor social
                                                                            revenues withheld from the PA, releasing
      welfare organisations in the West Bank and
                                                                            all outstanding monies.
      Gaza Strip to ensure that they strictly comply
      with the above legislation and are not used as             To the Donor Community and Other
      platforms to advocate attacks against civilians            Governments:
      or recruit members of military organisations.
5.    Ensure, with all the means at its disposal, the            13.    Provide technical and material support to
      integrity of its humanitarian operations.                         assist the PA in implementing its own law
                                                                        regulating charitable institutions and, as a
6.    Take active steps to delegitimise all acts of                     priority, in establishing a functioning general
      terrorist violence against civilians, in particular               welfare system.
      suicide bombings, in the media and other public
      information systems and through the criminal               14.    Increase assistance to international and local
      justice system.                                                   humanitarian organisations active in the West
                                                                        Bank and Gaza Strip.
7.    Assign Ministry of Education inspectors to
      actively monitor schools operated by Islamic               15.    Provide additional urgent humanitarian and
      social welfare organisations in order to ensure                   financial assistance to the Palestinians and
      religious instruction is not used as a platform                   encourage the establishment of additional
      for promoting intolerance or to incite violence.                  charitable networks that are effective and
                                                                        credible
8.    Begin a process of establishing a general
      welfare program, with international help.                  16.    Press Israel to rescind security measures that
                                                                        are not required by its legitimate interests and
9.    Cease arbitrary closures and seizures of social                   have contributed to the humanitarian crisis
      welfare organisations where no evidence of                        among the Palestinian population.
      wrongdoing exists.
                                                                 17.    Harmonise policies toward charities in their
To the Islamic Resistance Movement (Hamas):                             own jurisdictions that are active in the
                                                                        occupied Palestinian territories and in
10.    Cease all attacks against civilians and declare                  particular:
       that it will not resort to such attacks in future.
                                                                        (a) agree on and implement common
11.    Cooperate with the PA in implementing                                regulations regarding accounting
       Law N°1 on Charitable Societies and Civic                            transparency, consistent with the
       Associations.                                                        recommendations of the inter-
                                                                            governmental Financial Action Task
To the Government of Israel:                                                Force on Money Laundering (FATF);

12.    Revoke, consistent with reasonable security                      (b) take legal action against charitable
       requirements, economically punitive measures                         institutions found to be diverting funds
       against Palestinians, and in particular, and                         to assist violent activity or advocating or
       consistent with the recommendations of the                           promoting attacks against civilians; and
       UN Secretary General’s personal humanitarian
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      (c) allow charitable organisations to raise and
          expend funds for strictly legitimate social
          purposes, irrespective of any association
          between the organisation and Hamas.
18.   Press Arab states, particularly Saudi Arabia
      and the Gulf States, to ensure that funds raised
      in their territories for charitable institutions are
      used strictly for humanitarian purposes.

To Arab States, particularly Saudi Arabia and
the Gulf States:

19.   Cease any support for Hamas unless and until
      it agrees to halt attacks against civilians and
      takes the necessary steps to cease such
      activities.
20.   Enhance monitoring of charitable organisations
      to ensure that funds are exclusively and
      verifiably allocated for humanitarian purposes.
                     Amman/Brussels, 2 April 2003
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I.     INTRODUCTION                                            prevent the abuse of non-profit organisations for
                                                                                                                   5
                                                               purposes other than those defined in their mandates.

                                                               The Palestinian Islamic Resistance Movement
Among the numerous ripple effects of the 11
                                                               (Hamas),6 which has conducted devastating
September 2001 attacks in the U.S., has been
                                                               bombings, especially against Israeli civilian targets,
resurgent concern about the relationship between
                                                               has threatened to attack Western interests in the
Islamic social welfare activism and terrorism. On                                               7
                                                               event of a war against Iraq, and supports an
23 September 2001, President George W. Bush
                                                               extensive network of social welfare organisations,
promulgated Executive Order 13224, which:                                                          8
                                                               has come in for particular scrutiny. During the past
       authorises the U.S. government to block the             year, a number of states have acted against charitable
       assets of individuals and entities that provide         institutions suspected of direct links with Hamas:
       support, services, or assistance to, or otherwise       Germany banned the Al-Aqsa Foundation and seized
       associate with, terrorists and terrorist                its assets, while the U.S. outlawed the Holy Land
       organizations designated under the Order, as            Foundation for Relief and Charity. Other states,
       well as their subsidiaries, front organizations,        including the Netherlands, have launched formal
       agents, and associates.2                                investigations into such institutions, or – as Saudi

In September 2002, the State Department’s Office of
Counter Terrorism proclaimed “ensuring that
charities are not abused by terrorist groups” a “top
                                                     3
priority in our war against terrorist financing”,               5
                                                                  See, for example, FATF, “Combating the Abuse of Non-
while a senior official vowed, “We will continue to
                                                                Profit Organisations: International Best Practices” (11 October
block the assets and work with our allies to block the          2002), at http://www.fatf-gafi.org/pdf/SR8-NPO_en.pdf.
assets of charities that divert funds to terrorist              FATF membership includes the United States, the European
purposes”.4 At the international level, the inter-              Commission, the Gulf Cooperation Council, and many OECD
governmental Financial Action Task Force on                     governments.
                                                                6
Money Laundering (FATF) devised regulations to                    Hamas, which translates as “zeal”, is the Arabic acronym
                                                                of the Islamic Resistance Movement’s full name in Arabic
                                                                (Harakat al-Muqawwama al-Islamiyya).
                                                                7
                                                                  In an open letter, the founder of Hamas, Sheikh Ahmed
2
   Executive Order 13224 at http://www.state.gov/s/ct/rls/fs    Yassin, wrote of a possible war against Iraq: “As they fight
 /2002/16181.htm.                                               us, we have to fight them and as they threaten our interests,
 3
   Celina B. Realuyo, Policy Advisor, U.S. Department of        we have to threaten their interests. . . Muslims will have to
 State, Office of Counter Terrorism, “Combating the             threaten and strike Western interests, and hit them
 Financing of Terrorism: Remarks to Western Union               everywhere.” Reuters, 7 February 2003.
 International Compliance Conference”, 18 September 2002
                                                                8
                                                                   While Hamas is not the only Palestinian organisation that
 at http://www.state.gov/s/ct/rls/rm/14647.htm.                 conducts both paramilitary and social welfare activities, it is
 4
    Alan P. Larson, U.S. Under Secretary of State for           the focus of this report because it is by far the most significant
 Economic, Business, and Agricultural Affairs, “Testimony       movement in this context. The other main Palestinian Islamist
 Before the House Committee on Financial Services”, 19          organisation, Islamic Jihad, is by contrast comparatively small
 September 2002 at http://www.state.gov/e/rls/rm/2002/           and only marginally involved in social welfare activism. For a
 13598.htm.                                                      brief discussion of Islamic Jihad, see Section II B below.
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Arabia and other Gulf states – have come under                           military and social activities, the mere existence
pressure to curtail their activities.9                                   of a network of social welfare organisations
                                                                         affiliated with an organisation that deliberately
Hamas presents the typical problem of an                                 targets civilians is considered unacceptable.12 It
organisation that engages in both legitimate                             legitimises an organisation that resorts to
(humanitarian) and illegitimate (terrorist) activities,                  patently illegal acts and, by permitting it to
compounded in this instance by operating in a non-                       garner support through the delivery of
state environment, under conditions of foreign                           humanitarian assistance, ultimately strengthens
occupation and in which the recognised public sector                     it and the ideology and practices it promotes. In
(the Palestinian Authority, PA) no longer functions                      addition, some have argued that targeting the
and was often ineffective while it did.                                  social network is essential to eliminating
                                                                         Hamas's military branch, because it offers the
As exemplified by Executive Order 13224, the                             most effective leverage. “Nothing”, claims
concerns about Islamic social welfare organisations                      former United States Special Envoy Dennis
affiliated with Hamas fall into three broad categories:                  Ross, “is more likely to stop Hamas support for
                                                                         terror than to know that the Palestinian
!    Providing direct support to the Hamas military                      Authority is going to take over” its network of
     infrastructure through the illicit transfer of                      social welfare institutions.13
     funds purportedly destined for humanitarian
     purposes. Hamas has been accused of using                    If the continued operation of Islamic social welfare
     social welfare organisations as a cover to raise             organisations affiliated with Hamas poses a political
     funds for the movement and its military                      and security dilemma, their disruption would raise a
     infrastructure.10 Hamas-affiliated charitable                no less problematic socio-economic, humanitarian
     institutions are also charged with providing                 and indeed political predicament. Concern about the
     payments to the families of suicide bombers.                 political impact of such institutions is predicated
                                                                  precisely upon their effectiveness at providing
!    Providing direct support to Hamas through                    services. Under the combined impact of punitive
     recruitment and incitement. Charitable                       Israeli sanctions against the West Bank and Gaza
     institutions affiliated with Hamas are believed              Strip population and the PA’s disintegration, ordinary
     to serve as vehicles for the recruitment and                 Palestinians are experiencing unprecedented hardship
     indoctrination of potential militants.11 The                 at a time when the capacity of their public sector to
     provision of financial assistance to the families            deliver much needed services continues to diminish.
     of suicide bombers is viewed as a particularly               As a result, the role of informal support networks –
     reprehensible example.                                       including particularly those affiliated with Hamas –
!    Providing indirect support to Hamas. Even                    has increased commensurately. Eliminating Islamic
     assuming perfect segregation between Hamas’                  social welfare organisations affiliated with it is likely
                                                                  to have only a negligible impact on Hamas’s military
                                                                  activities, while the resulting increase in poverty and
                                                                  despair risks further radicalising the population and
9
   See, for example, Susan Schmidt, “Saudis Aided                 creating additional incentives for it to escalate its
Subpoenaed Woman’s Trip Out of U.S.”, The Washington              armed campaign.
Post, 5 February 2003. U.S. officials interviewed by ICG
assert that getting Gulf states to crack down on Hamas            This report takes a detailed look at the controversy
financing remains important, but concede that the priority in
dealing with these states is to shut down any assistance to al-
                                                                  surrounding Islamic social welfare organisations
Qaeda. They also recognise that they have had far more            affiliated with Hamas and assesses the implications
success on the latter than on the former front. ICG               of their continued operation or enforced removal in
interviews, Washington, February 2003.                            a climate of crisis and conflict.
10
   According to the United States government, “Hamas’s
charitable organisations ‘serve as a screen for its covert’
component, thereby permitting the transfer of funds to its
terrorist activity”, Civil Action N°02-442 (GK), U.S. District
Court for District of Columbia, Memorandum Opinion, Holy
                                                                  12
Land Foundation v. Ashcroft.                                         ICG interview with U.S. officials, Washington, February
11
   The “charitable component is an effective way for Hamas        2003.
                                                                  13
to maintain its influence with the public, indoctrinate              Dennis Ross, “Give Arafat an Ultimatum”, Washington
children and recruit suicide bombers”, Ibid.                      Post, 16 December 2001.
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II.     BACKGROUND                                                ultimate strategic objective.17 Although informed by
                                                                  specifically Islamic characteristics and objectives,
                                                                  Islamic social welfare activism is thus the product of
A.      ISLAMIC SOCIAL WELFARE ACTIVISM14                         a socio-political strategy that is neither uniquely
                                                                  Islamic nor limited to religious movements.18
Zakat, almsgiving, is one of the “five pillars” of
Islam and is thus obligatory upon practising
                                                                  B.     THE PALESTINIAN CONTEXT
Muslims. In the contemporary Muslim world, the
organised provision of social services to population
sectors neglected by the state has been central to                On account of Jerusalem’s sacred status among
the emergence of Islamist opposition movements.15                 Muslims, Palestine has historically possessed a
Their dedication to the needs of the poor and the                 multitude of Islamic social welfare organisations.
marginalized, often in sharp contrast to self-serving             Its most visible institutional expression has been
and disinterested state and religious establishments,             the waqf, or religious endowment. While taking
significantly contributes to their political appeal.              many forms, dedication to the public welfare in
                                                                  perpetuity of income deriving from property upon
The majority of Islamic social welfare organisations              the owner’s death (such as the assignation of rent
around the world are politically unaffiliated.                    derived from a commercial building to maintain a
Similarly, not all Islamist political movements have              soup kitchen), is typical.19 Given the resources
engaged in social welfare activism; most of the                   required, waqf endowments have generally been the
smaller, clandestine revolutionary groups all but                 preserve of the state and propertied elites and the
eschew the field and prefer to concentrate their                  religious establishment that regulates them. The
limited resources on the violent struggle against their           organised provision of social welfare by
enemies. Some, however, have created networks of                  autonomous social movements is, by contrast, a
social, charitable, financial and religious institutions          more recent phenomenon.
noted for their professionalism, efficiency and
integrity.                                                        Although Islamic social welfare organisations
                                                                  proliferated throughout Palestine during the twentieth
The social welfare activism of Islamist movements                 century, until 1967 these tended to have at best
typically derives from political considerations as well           tenuous connections to Islamist socio-political
as piety. In addition to responding to the obligation             movements and were limited in their ulterior
of zakat, such activism provides opportunities for                objectives (to the extent these existed) to promoting
da’wa, or proselytism,16 and may collectively be                  religious consciousness and observance. The Israeli
considered a form of da’wa itself. Similarly, such                occupation of the West Bank and Gaza Strip that
institutions can in various ways contribute to the                began that year, however, was a turning point.
Islamisation of the individual and society, a process             Israel’s overwhelming military victory thoroughly
which many Islamist movements – and reformist ones                discredited the defeated secular, nationalist, pan-
in particular – view as a necessary component of an               Arabist regimes and to a lesser extent the ideologies
eventual struggle for political power and as their                that underpinned them, and set the stage for a revival
                                                                  of the Islamist movements they had successfully
                                                                  repressed and outflanked for the better part of two
                                                                  decades. At the same time, the 1967 War precipitated

14
    In this report, “Islamic” refers to entities that are
                                                                  17
nominally or generically Muslim , while “Islamist” denotes           In the Islamist revolutionary tradition, by contrast, the
entities which are self-consciously so, and formulate explicit    Islamisation of society is viewed as a process that follows
political or ideological objectives on this basis.                the seizure of political power, perhaps further explaining the
15
   Islamist movements are those that pursue political power in    comparative neglect of social welfare activism by such
order to promote Islam as the dominant force in government        organisations.
                                                                  18
and society. Although such movements differ widely both in           In this respect, the “Preferential Option for the Poor”
their interpretation of Islam and on the means by which this is   adopted by Catholic priests in Latin America espousing
to be achieved, a commitment to the application of Shari’a,       Liberation Theology, and the social services provided by
Islamic law, is their most common denominator.                    socialist movements in Europe, are pertinent examples.
16                                                                19
   Literally, “the Call [to Islam]”. Examples are networks of        Waqf endowments were also established by Christians and
religious classes for Muslim pupils, broadly equivalent to        Jews, and in accordance with Shari’a were established by
Sunday Schools.                                                   both men and women.
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the rapid rise of the independent Palestinian guerrilla                       founded Islamic charity organisations, which
organisations that came to dominate the Palestine                             supervised religious schools. It also managed
Liberation Organisation (PLO) and by extension the                            nursery schools and kindergartens, which
Palestinian political arena.                                                  were usually attached to mosques. The
                                                                              Brotherhood also established neighbourhood
Within the occupied territories, there was initially no                       libraries and sports clubs … The Muslim
inherent contradiction between the emergence of a                             Brotherhood used … zakat … to help
largely secular, explicitly nationalist PLO with                              thousands of needy families. And thousands
considerable leftist influences and the more gradual                          of students and children were enrolled in
Islamist revival. Palestinian Islamist movements,                             schools and kindergartens run by the Islamic
including the largest, the Muslim Brotherhood (al-                            movement.24
Ikhwan al-Muslimin),20 were reformist during this
period rather than revolutionary in character21 and as               With the additional influence derived from
such more interested in da’wa than jihad.22 The PLO                  sympathisers involved in the supervision of the
was primarily occupied with the struggle against                     “extensive network of [formal] waqf property” and
Israel and on the whole avoided socio-economic                       the rapidly expanding number of mosques, the
issues it viewed as obstructive to the broad national                Muslim Brotherhood possessed “useful mechanisms
consensus it sought to promote.23 Islamist activists                 for the spread of Islamic influence.”25
who lost patience with the generally quiescent
approach of their parent organisations were easily                   The establishment and financing of such
accommodated within the mainstream Palestinian                       organisations was rarely problematic. The Israeli
National Liberation Movement (Fatah) led by Yasir                    authorities generally took the view that the Islamist
Arafat; alternatively, they could – and occasionally                 movement was less threatening than the militant
did – add to the plethora of Palestinian organisations               PLO, that it could usefully absorb the energies of
by establishing yet another.                                         Palestinian youth and could be a valuable instrument
                                                                     to promote “disputes and schisms among
Nevertheless:                                                        Palestinians”.26 They routinely furnished the required
                                                                     permits and encouraged the movement with funding
         Beginning in 1967, the Muslim Brotherhood                   and in other ways.27 But even more than the Israeli
         began to establish mechanisms to spread its
         ideas and increase its influence. The society
                                                                     24
                                                                        Ziad Abu-Amr, Islamic Fundamentalism in the West Bank
                                                                     and Gaza: Muslim Brotherhood and Islamic Jihad,
                                                                     (Bloomington, 1994), pp. 14-15.
20                                                                   25
   The Muslim Brotherhood was established in Egypt in                   Ibid., p. 15, which also notes that the number of mosques
1928 and during the next two decades set up chapters in              in the West Bank and Gaza Strip more than doubled between
most countries of the Levant. The Palestinian chapter was            1967 and 1987, from 600 to 1,350, and that waqf
created in 1946 in Jerusalem. See further Richard P.                 endowments accounted for 10 percent of all property in the
Mitchell, The Society of the Muslim Brothers (Oxford,                Gaza Strip. The network of charitable institutions was
1969); Khaled Hroub, “Hamas: Political Thought and                   particularly strong in Gaza, where Shaikh Ahmad Yassin
Practice”, Institute for Palestine Studies, Washington, 2000,        played an important role as head of the Islamic Association
pp. 11-29, for an account of the Brotherhood’s emergence in          (al-mujamma al-islami). Jean-François Legrain, “Vers Une
Palestine during the British Mandate and development                 Palestine Islamique?”, L’Arabisant 35 (2001).
                                                                     26
within the West Bank and Gaza Strip after 1948.                         Anat Kurz and Nahman Tal, “Hamas: Radical Islam in a
21
   In practical terms, pre-occupied with social rather than          National Struggle”, Jaffee Center for Strategic Studies,
political change.                                                    Jerusalem, 1997, at http://www.tau.ac.il/jcss/memoranda/
22
   Literally translated as “struggle”, jihad in Islamic theology –   memo48su.html.
                                                                     27
much like “crusade” in contemporary English usage – has                 Abu-Amr, Islamic Fundamentalism, p. 35, citing Yitzhak
numerous connotations, many of which are unrelated to armed          Segev, former Israeli military governor of the Gaza Strip and
conflict. In the context of Islamist movements’ struggles for        New York Times correspondent David Shipler, who
power, jihad is most often translated – by participants and          additionally discuss Israeli facilitation of Islamist attacks on
observers alike – as “holy war”, though “sacred struggle” is         PLO and Palestine Communist Party sympathisers; Graham
perhaps a more appropriate equivalent since in addition to           Usher, “What Kind of Nation? The Rise of Hamas in The
armed conflict it can also entail non-violent action such as an      Occupied Territories”, in Usher (Ed.), Dispatches from
election campaign or consumer boycott.                               Palestine: The Rise and Fall of the Oslo Peace Process
23
    This was particularly true of the Palestinian National           ,(London, 1999), p. 19; Kurz and Tal, Hamas, who confirm
Liberation Movement (Fatah), which since 1967 has largely            that until the late 1980s Israel “took a tolerant view” of
dominated the PLO.                                                   Islamist organisations, adding that in 1984 the Israeli
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and local financial contributions, the considerable              the PLO for several years, became a competition for
wealth that flowed into the coffers of the                       leadership of the Palestinian people.31
conservative Gulf states and Palestinian expatriate
communities after the oil price rises of 1973 provided           As the PLO failed to convert the Palestinian uprising
Islamic organisations in the occupied territories with           into an Israeli withdrawal from the occupied
their major source of funds.                                     territories and confronted political and financial
                                                                 bankruptcy in the aftermath of the 1991 Gulf War
The 1979 Iranian revolution and the 1987-1993                    (during which it sided with Iraq), the fortunes of
Palestinian uprising were further major milestones.              Hamas steadily rose. After Israel and the PLO signed
Though the Iranian Islamists emerged from a                      the Oslo agreement in 1993, Hamas’s popularity
different religious and political tradition, their               became a barometer of political discontent with the
seizure of power fundamentally challenged the                    peace process and the Palestinian Authority. The
reformist current dominant within the Muslim                     contrast between the modest life styles of its leaders
Brotherhood. Influenced by both the Iranian                      and the more opulent preferences of many in the
experience and that of the clandestine Islamist                  PLO, especially after they returned to the West Bank
revolutionary groupings emerging in Egypt (who                   and Gaza, and between the integrity and efficiency of
were themselves influenced by developments in                    the Islamic social welfare apparatus on the one hand
Iran), a number of Muslim Brotherhood activists in               and the corruption and cronyism of its nationalist
1980 separated from the organisation to establish a              counterpart on the other, were among its most potent
radical, militant alternative, Islamic Jihad.28                  assets.32 Not insignificantly, the Hamas charter,
                                                                 unlike that of the PLO, makes specific mention of
Less than a decade later, the eruption of the                    social solidarity:
Palestinian intifada – which Islamic Jihad helped
foment – threatened the Brotherhood with an even                        The Muslim Society is a cooperative society
more severe split. It responded by taking the                           (Article 20).
initiative and in February 1988 established Hamas,
an explicitly activist movement openly dedicated to                     Part of social welfare consists of helping all
resisting the Israeli occupation.29 The formation of                    who are in need of material, spiritual, or
Hamas reflected both increasing militancy among                         collective cooperation to complete various
the Brotherhood’s rank-and-file (and indeed West                        projects. It is incumbent upon the members of
Bank and Gaza Strip Palestinians more generally),                       the Islamic Resistance Movement to look after
and the organisation’s need to maintain credibility in
the drastically altered political environment in the             31
occupied territories.30 The contest for the hearts and              For a more detailed examination of the development of the
                                                                 Brotherhood and the emergence of Hamas between 1967 and
mind of the Palestinian people, which had been
                                                                 1988 see Abu-Amr, op. cit., pp. 10-89; Hroub, op. cit., pp.
developing between the Muslim Brotherhood and                    29-41; and Beverly Milton-Edwards, Islamic Politics in
                                                                 Palestine (London, 1999), pp. 73-146.
                                                                 32
                                                                     For a discussion of PA corruption largely based on
                                                                 Palestinian and internal PA sources, see ICG Middle East
                                                                 Briefing Paper, The Meanings of Palestinian Reform, 12
                                                                 November 2002, pp. 4-6 and references cited. Israel’s role in
                                                                 promoting Hamas during this early period – a role repeatedly
                                                                 alleged by PA officials, including Chairman Arafat – is more
authorities permitted a leading Islamic organisation in the      difficult to ascertain. ICG interviews, Ramallah, November
Gaza Strip to continue functioning despite the fact that arms    2002. Several Palestinians have made the claim that in 1988
were found on its premises; secular organisations would in       the Israeli military would often enforce Hamas general
similar circumstances have been immediately banned.              strikes while sparing no effort to disrupt those called by the
28
   Abu-Amr, op. cit., p. 93. At its inception, Islamic Jihad     Unified National Leadership of the Uprising aligned with the
was more a loosely knit combination of various groups that       PLO. Similarly, ICG interview, Wale Manners, Palestinian
shared a belief in the primacy of armed struggle against         journalist, 23 February 2003, notes: “Hamas benefited
Israel. See Legrain, “Vers Une Palestine Islamique?” op. cit.    greatly from Israeli complicity during its initial years. For
29
   See further Usher, “What Kind of Nation?”, op. cit., pp.      example, during the first intifada, not a single person was
18-33. Hamas, however, dates its establishment from              arrested for being a member of a zakat committee, while a
December 1987.                                                   member of a [secular and largely PLO-affiliated] voluntary
30
   Abu-Amr, op. cit., pp. 63-69. See Hroub, Hamas, op. cit.,     work committee – who is not necessarily politically affiliated
pp. 33-36 for an account of increasing activism within the       – would be imprisoned for six months as punishment for
ranks of the Brotherhood leadership prior to the uprising.       such membership”.
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       the needs of the people as they would their                   strategic objective (the establishment of an Islamic
       own needs. (Article 21)33                                     state throughout historic Palestine), Hamas
                                                                     gradually reduced its military actions, focusing
One of Israel’s clear objectives was to ensure that                  instead on its religious and social activities.36
Palestinians would crack down against those among
them who resorted to violence. As stated by Yitzhak                  As Israeli-Palestinian negotiations were replaced by
Rabin in September 1994, the PA "will run their                      violent confrontation in September 2000, it appeared
internal affairs without the High Court of Justice,                  that the political prospects of Hamas could only
B'Tselem [the Israeli Information Centre for Human                   improve. The Qassam Brigades – whose participation
Rights in the Occupied Territories], or all sorts of                 in the Al-Aqsa intifada was initially marginal –
groups of mothers and fathers and bleeding hearts".34                eventually carried out many of the most devastating
It seemed reasonable to expect that the security                     attacks against Israeli targets, including civilians,
forces of the soon-to-be-established PA would                        which, in a climate of protracted conflict and
incapacitate the Qassam Brigades, while visible                      increasing suffering and hatred, garnered the
progress in the peace process and widespread                         Islamists widespread popular acclaim among
economic development would neutralise the political                  Palestinians. At the same time, the immobilisation of
appeal of Hamas.                                                     PA institutions, their ineffectiveness in protecting the
                                                                     population from Israeli military assaults, and growing
The reality was different. With few exceptions the                   economic hardship – to a considerable extent a result
PA proved unable and/or unwilling to confront                        of Palestinian attacks – only increased the demands
Hamas and Islamic Jihad decisively,35 while the                      for services offered by organisations affiliated with
gradual disintegration of the peace process and                      Hamas.
further deterioration of the Palestinian economy
guaranteed the Islamists continued popular support.                  What seemed like a successful formula for Hamas
Here again, their willingness and ability to serve                   suffered a major setback as a result of the
the neediest sectors of society enhanced their                       international response to 11 September. The “war
stature. Islamist social welfare organisations stood                 against terrorism” that subsequently was announced
comparisons with PA ministries and agencies                          gradually developed into a broader campaign against
particularly well. While international attention was                 militant Islamist movements around the globe.
primarily focused on the relationship between the                    Hamas and the Islamic Jihad’s actions were placed,
PA and successive Israeli governments, the Islamist                  particularly by the U.S., in the context of a cohesive,
movement in the West Bank and Gaza Strip                             global struggle against terrorism.
continued to develop. Without relinquishing its
                                                                     Within this general framework, a variety of efforts
                                                                     were also launched to stem the flow of funds to
33                                                                   institutions seen to contribute to the further
    “The Charter of Allah: The Platform of the Islamic
Resistance Movement”, Articles 20 and 21. Reproduced in              development of the radical Palestinian Islamist
Hroub, Hamas, op. cit., p. 280.                                      movement. On 2 November 2001, the U.S. added
34
    Quoted in Jessica Montell, “Peace by any Means                   Hamas to its list of terrorist organisations.37 Pursuant
Necessary?” Tikkun (May/June 1999).                                  to that decision, on 4 December 2001 Washington
35
   One of the most notable exceptions came in 1996, when, in         froze the assets of the Holy Land Foundation for
the wake of a series of deadly suicide bombings against              Relief and Development, a U.S.-based charity that
Israelis, PA security forces, in coordination with Israeli
security services, launched a widespread campaign against
                                                                     had been accorded tax-exempt status. According to
the Hamas and Islamic Jihad militias that effectively                President Bush, “Money raised by the Holy Land
neutralised their capabilities. In March of that year, "dozens       Foundation is used by Hamas to support schools and
of Islamist institutions – kindergartens, charitable institutions,   indoctrinate children to grow up into suicide
mosques – are searched and placed under the control of [the          bombers … [and] also used by Hamas to recruit
PA]." Charles Enderlin, Shattered Dreams (New York, 2003),
pp. 33-34. Although the PA took these steps, and in particular
subordinated the mosques to Ministry of Religious Affairs
                                                                     36
supervision, it simultaneously “sustained a quiet dialogue”             See Legrain, “Vers Une Palestine Islamique?”, op. cit.
                                                                     37
with the Hamas political leadership and ultimately left its             “Comprehensive List of Terrorists and Groups Identified
social welfare infrastructure “largely intact”. See further          Under Executive Order 13224”, at http://www.state.gov/s/ct/
Graham Usher, “The Politics of Atrocity”, in Usher,                  rls/fs/2002/12327.htm. The U.S. State Department had
Dispatches, op. cit., p. 84; Hroub, Hamas, op. cit., pp. 107-        designated Hamas a “Foreign Terrorist Organisation” several
109.                                                                 years previously.
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suicide bombers and to support their families”.                  III. PALESTINIAN ISLAMIC SOCIAL
Proclaiming that “the terrorists benefit from the                     WELFARE ORGANISATIONS
Holy Land Foundation”, President Bush called upon
“other nations to suppress the financing of terror”. 38
In effect, Islamic social welfare activism was                   A.     TYPOLOGY
designated as a vital component of the terrorist
infrastructure.                                                  Islamic social welfare organisations fall into two
                                                                 broad categories. Charitable institutions are primarily
                                                                 engaged in the provision of alms, typically in the
                                                                 form of financial subsidies and food support, but also
                                                                 other items such as clothing and shelter. Service
                                                                 organisations by contrast provide benefits such as
                                                                 education, vocational training and medical relief.
                                                                 Such distinctions are not absolute, as organisations
                                                                 primarily engaged in one field will also work in the
                                                                 other – a pattern that has become more evident since
                                                                 September 2000.

                                                                 According to Sara Roy, who conducted extensive
                                                                 fieldwork in the Gaza Strip, in 1999 Islamic
                                                                 institutions “comprise[d] anywhere from 10-40
                                                                 percent of all social institutions in the Gaza Strip
                                                                 and West Bank” and “directly reach[ed] tens of
                                                                 thousands of people and impact[ed] hundreds of
                                                                 thousands more”. 39 In 1997, for example, 22,615
                                                                 families comprising 278,348 individuals received
                                                                 assistance from such institutions.40 The principal
                                                                 recipients of assistance provided by Islamic social
                                                                 welfare organisations are low-income households.
                                                                 Beneficiaries of regular programs include families
                                                                 headed by divorced women and widows and those
                                                                 in which the husband is chronically ill, permanently
                                                                 disabled, unemployed, or imprisoned.

                                                                 Assistance to orphans has always enjoyed a special
                                                                 status in the Islamic tradition of social welfare – in
                                                                 part because the Prophet Muhammad was orphaned
                                                                 at a young age. All but two of 40 Islamic social
                                                                 welfare organisations surveyed by ICG identified
                                                                 orphans as a specific target group.41

                                                                 Palestinian Islamic social welfare organisations play
                                                                 a disproportionately large role in a number of critical
                                                                 sectors. For example, the PA Ministry of Education
                                                                 estimates that in the Gaza Strip, where the school
                                                                 system is so overwhelmed that pupils are educated in

38
  “President Announces Progress on Financial Fight Against
                                                                 39
Terror: Remarks by the President on Financial Fight Against          Sara Roy, “The Transformation of Islamic NGOs in
Terror, The Rose Garden”, at http://www.whitehouse.gov/          Palestine”, Middle East Report, 214 (Spring 2000), p. 25.
news/ releases/2001/12/20011204-8.html. Mr. Bush stated          The population of the occupied Palestinian territories is
that the Holy Land Foundation had raised U.S.$13 million in      approximately 3 million.
                                                                 40
2000, and simultaneously announced that the United States           Palestine Poverty Report 1998, p. 70.
                                                                 41
had “blocked the accounts of an Hamas-linked bank, an               ICG survey of 40 Islamic social welfare organisations in
Hamas-linked holding company based in the West Bank”.            the West Bank and Gaza Strip, 2002.
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shifts, Islamic organisations account for 65 per cent            wider Arab and Islamic worlds). Although it is
of all educational institutions below secondary level            difficult to estimate their share of overall Islamic
– suggesting the sector would collapse without their             social welfare activity in either organisational or
continued involvement.42 They are similarly active at            financial terms, collectively they are predominant
the university level, providing tuition support to               among charitable institutions.
many students. In many localities, furthermore,
Islamic social welfare organisations hold a virtual              Such committees are generally governed by a board
monopoly on assistance to the disabled and are the               of local community and religious leaders and
third largest source of moral and psychological                  typically provide assistance to low-income
support to traumatised village children.43 Education             households (usually families without a male
also takes place through mosques, where Hamas                    breadwinner), orphans, the chronically ill and
influence is considerable. Indeed, the organisation              disabled and students in financial need. Some have
has traditionally used them as forums to convey                  also been involved in the establishment and operation
political messages.                                              of service-oriented organisations like hospitals and
                                                                 medical clinics.46
1.     Islamic Charitable Institutions
                                                                 The Ramallah Zakat Committee, for example, is led
Zakat is not a formal tax in Palestinian law nor is it           by local businessman Shaikh Husni Abu Awad. It
collected by the PA.44 Because Muslim Palestinians               sponsors orphans, assists needy families, operates a
are thus free to determine whether, to what extent               medical clinic, and counts ten Christian families
and how to disburse zakat payments, it is for all                among its beneficiaries.47 The Gaza Zakat Committee,
intents and purposes impossible to determine what                which is considerably larger and has more than 50
percentage of the population participates in this                employees, provides more than 5,000 beneficiaries
practice, or how much money is raised on an annual               with cash assistance, food, medicine, free health care,
basis. Nevertheless, a decentralised network of zakat            and interest-free loans for housing and university
committees, which since 1996 operate under the                   education. Like many other such organisations, it
supervision of the Ministry of Religious Affairs,                cooperates with the local authorities in selecting
exists in various West Bank and Gaza Strip localities.           recipients, determining which services to provide,
These committees disburse zakat payments received                and in the actual distribution.48
from local residents, additional voluntary donations
(sadaqa) made by individuals, organisations,                     2.     Islamic Service Organisations
corporations and governments, and allocations from
zakat funds in foreign countries.45                              Islamic service organisations comprise a wide
                                                                 range of institutions providing a large variety of
Zakat committees, with their clear associations to               services to Palestinian society. At its most basic,
obligatory religious practice (fard), are among the              such an organisation can consist of several
most established Islamic institutions in the occupied            volunteers who give extra-curricular Quranic
Palestinian territories (and indeed throughout the               instruction to neighbourhood schoolchildren. In
                                                                 their more elaborate manifestations, such as
                                                                 orphanages and vocational training centres, they
42                                                               have all the attributes of a functioning organisation,
   Roy, “The Transformation of Islamic NGOs in Palestine”,
                                                                 including employees, governing bodies, annual
op. cit., p. 25.
43
   Bocco et. al., International and Local Aid during the         budgets and internal elections, and perhaps
Second Intifada, op. cit., p.100.                                marketing and fundraising operations well. Many
44
   John Esposito, Islam: The Straight Path (Oxford, 1994),       are local and provide only a single service; others
pp. 90-91, notes that zakat is “usually” calculated at 2.5       offer a wider range and may be part of a larger
percent of the value of all assets (including income) per        network including local branches.
annum. Milton-Edwards, op. cit., p. 127, describes it as 7 per
cent of annual income.
45
   According to the PA’s “Palestinian Poverty Report 1998”,
p. 69 (fn.24), there were 62 zakat committees in 1998. An
                                                                 46
unpublished UN study found only 30 such committees in               “Palestine Poverty Report 1998”, p. 70.
                                                                 47
2001 (fourteen in the West Bank and sixteen in the Gaza             ICG interview, Shaikh Husni Abu Awad, Ramallah, 23
Strip). See UNSCO and OCHA, “Food and Cash Assistance            February 2003.
                                                                 48
Programmes, October 2000-August 2001: A Brief                        ICG survey of 40 Palestinian Islamic social welfare
Overview”, p. 5.                                                 organisations.
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The case of the Islamic Assembly of Gaza, one of the                    needs, underscored the relevance of their work
large Hamas-affiliated organisations, is illustrative.                  and approach, and meant that they were able to
Aside from providing cash assistance to roughly                         expand their constituencies even further.51
5,000 orphans and hundreds of poor families, it
distributes food, school bags and winter clothing,               Similarly, the former director of an EU humanitarian
organises wedding parties and sponsors nurseries,                agency spoke highly of the professionalism of
clinics and sports clubs. Its impact probably is felt in         Islamic social welfare organisations: “Their lists of
varying degrees by tens of thousands of Palestinians.49          beneficiaries are quite impressive in their exactitude,
                                                                 and represent those truly in need. Some international
In addition to confirming that “management and                   organisations even double-check their own lists with
staff are typically well educated, highly trained and            theirs”.52
professional”, Roy finds that

       the services provided by Islamic NGOs are                 B.     LEGAL STATUS
       generally of high quality and are perceived as
       such by the population … Islamic NGOs                     Islamic social welfare organisations in the occupied
       almost uniformly define niches and work in                Palestinian territories are independent legal entities
       sectors and localities where considerable needs           or branch organisations of such entities. This holds
       are largely unmet. Their constituencies are               true for those affiliated with political movements
       mostly the poor and marginalized … and in                 such as Hamas, as well as for those with no apparent
       some localities … Islamic NGOs appear to be               political orientation.
       the only ones working with these groups …50
                                                                 In terms of their legal status, the vast majority of
The comparative advantage enjoyed by Islamic                     registered Islamic social service organisations were
social welfare organisations relative to both the PA             until 1994 defined as charitable associations,
and other NGOs has been widely noted. According                  reflecting the general nature of their activities as
to a former NGO activist in the Gaza Strip:                      well as the official classification of social service
                                                                 organisations prior to the advent of the PA. After
       [This advantage] derives from their organic               1994, all such institutions were required to obtain an
       links with the grassroots, which in contrast to           additional operating license from the PA ministry
       others they sustained throughout. Where other             responsible for their particular field of activity (e.g.
       NGOs became increasingly pre-occupied with                health, education). In 2000, new Palestinian
       political and institutional issues like                   legislation came into effect that consolidated the
       development and capacity building, the Islamic            regulation of NGOs, private voluntary organisations
       organisations retained their emphasis on social           (PVOs), and charities according to a single standard,
       service delivery, and did this very                       and pursuant to which such institutions had to obtain
       professionally. As a result, they were easily             new certificates of registration from the Ministry of
       able to maintain their links to their                     Interior.53 Organisations previously licensed by a PA
       constituencies. The other factor is the                   ministry (or, prior to 1994, the Israeli authorities)
       deteriorating economic situation since Oslo.              obtained these with relative ease, though there is
       The increased poverty levels created additional           good reason to question how closely their activities
                                                                 have been monitored by the PA for compliance with
                                                                 its laws. New and previously unrecognised
49
   ICG interviews, Gaza, Spring 2002. As Roy describes it,       organisations could only obtain Ministry of Interior
Islamic organisations “play an important and visible role in
the following areas: relief and charity work; preschool,
primary and elementary education; library development; the
education and rehabilitation of physically and mentally
disabled children and adults; primary and tertiary health care
                                                                 51
…women's income-generating activities; literacy training;           ICG interview, Wafa Abdel-Rahman, former coordinator
the care of orphans (which includes all aspects of their life    of the Palestinian NGO Network (PNGO), in the Gaza Strip,
from infancy to age 16); the care of the elderly; the care and   Ramallah, 10 October 2002.
                                                                 52
placement of ‘illegitimate’ children, who come to them as           ICG interview, former head of EU ECHO, New York,
abandoned infants; and youth and sports activities”. Roy, op.    October 2002.
                                                                 53
cit. pp. 25-26.                                                     Law N°1 on Charitable Societies and Civic Associations
50
   Roy, op. cit., p. 26.                                         (2000).
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registration upon the consent of the relevant                    The Islamic social welfare sector as a rule has been
supervisory ministry.54                                          more diligent about the registration process than its
                                                                 secular counterpart and therefore encountered fewer
In theory, the new law includes strict safeguards                difficulties. Two factors explain this. First, their
against any exploitation of registered organisations             focus on service provision has been perceived by the
for the illicit movement of funds. In addition to                PA as less of a threat than the network of secular
providing for thorough organisational transparency,              NGOs devoted to human rights, democratisation and
it requires registered organisations to appoint a                related issues. “In fact,” states a former NGO
certified accountant to supervise their budgets, keep            activist, “the activities of the Islamic social welfare
detailed and verifiable records of all income and                sector complemented rather than competed with the
expenditures, and submit “detailed” and                          services provided by the PA; because of the PA’s
independently audited accounts (along with full                  limited resources in the provision of social services,
accounts of all activities), to the PA on an annual              the effect of Islamist social welfare activism was to
basis. If an organisation is found to be violating its           reduce popular pressures on the PA”.58 A senior
approved charter and fails to heed formal warnings,              Interior Ministry official in 1999 confirmed this
the PA is entitled to launch legal proceedings to close          view: “we 'look the other way' with many Islamic
it down, and take additional measures to ensure that             institutions because they provide excellent services
any remaining assets are disbursed in accordance                 and this helps us [the PA] a great deal”.59
with the objectives for which the organisation was
established.55 As a result of the intifada and ensuing           Secondly, Islamic organisations appear to have been
destruction of the PA, there has been no opportunity             less reticent than their secular counterparts to comply
to test whether it would rigorously enforce the law.             with PA requirements. While others have sought to
According to a Palestinian NGO activist: “The law is             demonstrate that they maintained a critical distance
if anything too intrusive. . . . The problem with it is          and independence from the PA, Islamic organisations
that it is not being enforced, because the PA is no              had the opposite concern: that excessive distance
longer capable of this after its virtual destruction by          from the PA would make them exceedingly
Israel”.56                                                       vulnerable to PA and foreign pressure. As a result,
                                                                 they went out of their way to avoid confrontation
Zakat committees have been governed by a more                    with PA officials. For example, while there was
complex set of regulations. While some are                       widespread opposition in the NGO community to the
registered as charities, most are regulated by laws              PA registration requirements (on the ground that
deriving from Jordanian and Egyptian legislation                 NGOs needed to preserve their independence and
that applied to the West Bank and Gaza Strip prior to            there first should be a law guaranteeing this
1967. Pursuant to the latter, they are accountable to            independence), Islamic organisations often were
the Ministry of Religious Affairs, in whose names                among the first to register.60
their bank accounts are registered and which audits
their finances on a weekly basis.57 A draft law on
zakat committees is currently before the Palestinian             C.     POLITICAL AFFILIATION
Legislative Council, which would consolidate the
anomalies in this sector and retain and modernise the            Because Islamic social welfare organisations are
PA’s organisational and financial controls.                      formally independent entities, their political
                                                                 affiliations are not immediately apparent. Some are
                                                                 politically as well as legally independent. Others
                                                                 are affiliated with a political entity, such as Hamas,
54
   ICG interview, PA Ministry of Interior official, Ramallah,    Fatah, or the PA itself. Affiliation, in turn, is often
11 October 2002. The 2000 law effectively eliminated the         a matter of degree.
role of the Ministry of Non-Governmental Organisations,
which until that time was in any event unclear. In a further
cabinet reshuffle in late 2002, the NGO Ministry was
                                                                 58
abolished altogether although it continues to exist in a non-        ICG interview, Abdel-Rahman, Ramallah, 10 October
ministerial capacity.                                            2002.
55                                                               59
   Articles 11, 13, 30, 38. and 39, Law N°1 on Charitable           Roy, op. cit., p. 26, adding that “all Islamic NGOs [in the
Societies and Civic Associations (2000)                          Gaza Strip] are official and legally registered with the
56
   ICG telephone interview, Wafa Abdel-Rahman, 4 February        appropriate Palestinian ministries, as they were with the
2003.                                                            Israeli authorities before 1994”.
57                                                               60
   ICG interview, Abu Awad.                                         ICG interview, Palestinian NGO activist, February 2003.
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In many cases, such as the extensive network of                  sought broad and diverse political participation on
institutions in Khan Yunis in the Gaza Strip known               their boards in order to ensure that they are deemed
as the Islamic Association (al-Mujamma’ al-Islami)               representative and responsive to community needs.
or that of the Islamic University in Gaza City, the              The presence of Islamists is, under this view, a
affiliation of a particular social welfare organisation          necessary requirement.
with Hamas is readily apparent and all but official.61
In others it can be inferred from a combination of               Although there are no official and precise figures
factors such as the identity of the founders,                    regarding Hamas-affiliated social welfare
composition of governing bodies, funding and                     organisations operating in the West Bank and Gaza
staffing. While there is nothing scientific or rigorous          Strip (and bearing in mind that “affiliation” is an
to this process, Palestinians interviewed by ICG                 inherently problematic concept), it is believed their
stated that the Hamas affiliation of a particular relief         number, if branch organisations are excluded, lies
organisation, pre-school education centre, zakat                 somewhere between 70 and 100.64 While they may
committee or mosque is generally a matter of                     not dominate the NGO landscape numerically, they
common knowledge so that people can state with                   are widely seen as its most dynamic component.
some assurance that “this mosque is Hamas” and
that one is not.
                                                                 D.     FUNDING MECHANISMS
It is generally held that Hamas is far more influential
within the social welfare sector than any other                  The funding available to Islamic social welfare
Palestinian political organisation, including the PA.            organisations is impossible to ascertain precisely,
In addition to the Hamas members who supervise                   primarily on account of the large variety of sources.
the movement’s own network of organisations,                     This funding is anything but centralised. The
others (and/or their sympathisers) sit on the boards             organisations themselves maintain that all money is
of zakat committees and service organisations, help              raised independently from local, Arab and foreign
fund them and are employed by them in various                    individuals and organisations, and includes both
capacities, and are otherwise involved in their                  program support and unsolicited donations. The
activities.                                                      Ramallah Zakat Committee, for example, claims to
                                                                 be funded by a combination of local merchants,
What such apparent dominance means in practice is                Palestinian expatriates, and Palestinian philanthropic
a different matter. In the words of a senior USAID               associations.65 The Al-Salah Islamic Association,
official with extensive experience in both the West              considered one of the largest Hamas-affiliated
Bank and Gaza Strip, “what exactly does political                organisations in the Gaza Strip, obtains support from
‘affiliation’ mean in a context where everyone is                a variety of local and foreign organisations on the
either affiliated with a political movement to some              basis of project proposals it submits.66 The
degree or labelled as such? Can you assign political             independent Wafa Charitable Society, also in the
‘affiliation’ to an organisation if it does not have a           Gaza Strip, has received program support.67 The Al-
political agenda and its leader is not affiliated to the         Bira Islamic Charitable Society in the West Bank,
extent that he acts on behalf of a political movement            which obtains part of its funding from Islamic
as opposed to his institution”?62 The same official              charities in Australia and Saudi Arabia, charges
notes that the capacity of one or two board members              tuition fees for its schools (orphans study free).68
affiliated with Hamas to influence decision-making
and dictate organisational policy is overstated, if              Unsolicited donations are either paid directly to such
only because such governing boards generally have                organisations, or raised on their behalf by individuals
limited powers on account of poor chain-of-
command, and the organisations tend to be staff-
                                                                 64
driven.63 Moreover, many independent NGOs have                      ICG interviews, Palestinian and international institutions,
                                                                 West Bank and Gaza Strip, May, April, and September
                                                                 2002, provide the basis for this estimate.
                                                                 65
                                                                    ICG interview, Shaikh Husni Abu Awad, Chairman of the
61
    For example, Sheikh Ahmad Bahr, head of the afore-           Ramallah Zakat Committee.
                                                                 66
mentioned Islamic Assembly of Gaza, is a well-known Hamas           ICG E-mail interview with Al-Salah Islamic Association,
member.                                                          25 February 2003.
62                                                               67
   ICG interview, USAID official, Jerusalem, 13 September           ICG telephone interview, 24 February 2003.
                                                                 68
2002.                                                               ICG interview, Mahmoud Misleh, Director of the Al-Bira
63
   ICG interview, USAID official, Jerusalem, 21 May 2002.        Islamic Charitable Society, 23 February 2003.
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and institutions familiar with and supportive of their            social welfare organisations.72 For their part, the
activities. This has become an increasingly common                social welfare organisations consistently emphasise
practice during the current uprising, for example as a            their financial probity and transparency, as well as
result of telethons in Gulf states held in support of the         their strict compliance with PA regulations.
Palestinian people or on the occasion of important                According to the Al-Salah Islamic Association:
Islamic holidays. While it does not appear that
Islamic social welfare organisations affiliated with                     Our accounting is done by our internal
Hamas have been directly funded by governments,                          accounting department, certified by an
they have benefited extensively from charitable                          external auditor, and monitored by the [PA]
societies active in the Gulf (some of which “operate                     General Comptroller’s Office and Ministry of
under royal patronage”),69 Europe, and North                             Interior … We provide funders with financial
America. Although Palestinian, Arab and Muslim                           statements for the project ... If any counterpart
expatriate communities play an important role in                         should request to see our entire budget, the
contributing to such charities, the majority of foreign                  Association has no objection to this.73
funding has traditionally come from the Gulf region.
                                                                  In another case, the Al-Bira Islamic Charitable
Islamic social welfare organisations also benefit from            Association did not hesitate to provide its books to
informal support networks; in some cases,                         ICG for inspection when queried about its finances.
Palestinian expatriates are approached with cash                  Indeed, the professional integrity of Islamic social
donations and asked to distribute them to Palestinians            welfare organisations was consistently emphasised by
in the occupied territories. They either transport or –           Palestinians, foreign diplomats, and representatives of
using personal connections – transfer such funds to               international organisations interviewed by ICG.
the West Bank and Gaza Strip, where they are hand-
delivered to needy families. In order to ensure the               While the picture painted by Hamas and Islamic
integrity of the process, an Islamic social welfare               social welfare organisations may well be technically
organisation considered trustworthy by the distributor            accurate, and the Islamist movement’s direct role in
of such funds will be approached to provide a list of             the development and financing of such institutions
eligible beneficiaries, as well as a representative to            appears to have been limited to their start-up phase,74
witness and confirm the disbursements. Such funds                 it seems beyond question that Hamas continues to
are as a rule not transferred to the budgets of the               play an indirect, yet significant role in the financing
organisations involved, but are nevertheless                      of affiliated organisations. Most importantly, this
perceived as part of their activities.70                          would include funds from local and particularly
                                                                  foreign individuals and charities that are channelled
According to Hamas spokesperson Abd-al-Aziz                       directly to such organisations upon the
Rantisi, the organisation “does not fund” Islamic                 recommendation of Hamas activists and
social welfare organisations, and the latter deny this            sympathisers.
just as emphatically.71 According to Rantisi, Hamas
provides assistance directly to Palestinians and thus
has no need for the intermediary services of Islamic
                                                                  72
                                                                      ICG telephone interview, Abd-al-Aziz Rantisi, who
                                                                  substantiated his point by citing an example in which Hamas
69
    Human Rights Watch Report, “Erased in a Moment:               founder Shaikh Ahmad Yasin in early 2003 personally
Suicide Bombing Attacks Against Israeli Civilians”, pp. 101-      distributed funds to shopkeepers whose premises had been
102, 2 November 2002.                                             destroyed during an Israeli incursion into the Shuja’iyya
70
   ICG interviews, Palestinians residents of the occupied         quarter of Gaza City.
                                                                  73
territories involved in such disbursements, Amman, January           ICG E-mail interview with Al-Salah Islamic Association.
                                                                  74
2003. The individuals concerned, who are not members of               ICG interview. Rantisi notes that these organisations
any political organisation, had received an unsolicited sum       “were established prior to Hamas and acquired registration
of U.S.$15,000 provided by multiple non-Palestinian Arab          certificates to conduct their activities from the Israeli
donors for this purpose, and related a number of similar          occupation as early as 1978, while Hamas was established in
cases of this practice to ICG, at times involving significantly   1987”. In other words, most were established by the Muslim
higher amounts.                                                   Brotherhood. Abdel-Rahman, in a telephone interview with
71
     ICG telephone interview, Abd-al-Aziz Rantisi, 22             ICG, concurred that Hamas “might help a newly established
February 2003; ICG E-mail interview with Al-Salah Islamic         organisation to start up, but these organisations are very
Association; ICG interview, Mahmoud Misleh, Al-Bira               professional in their work and don’t need Hamas to keep
Islamic Charitable Society.                                       funding them”.
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It is primarily in this sense that the concept of Hamas          need, among which are field investigations,
funding for Islamic social welfare organisations                 interviews and recommendations. 79 In cases where
should be understood. Thus, according to the U.S.-               zakat committees provide cash assistance,
based Council on Foreign Relations, Hamas “devotes               beneficiaries receive monthly cheques upon
much of its estimated U.S.$70 million annual budget              presentation of personal identification.80 Food
to an extensive social services network”. Israeli                assistance is distributed directly from warehouses
scholar Reuven Paz adds that “approximately 90 per               upon presentation of coupons.81 Individuals and
cent of its work is in social, welfare, cultural, and            families supported by such committees are
educational activities”.75 Others have estimated the             regularly monitored during the period of assistance.
Hamas budget to be in the range of U.S.$40-70
million, of which 85 per cent is raised abroad and 15            Beneficiaries of Islamic service organisations
per cent locally, with 95 per cent of the total                  ordinarily receive cash payments directly to their
allocated to social services.76 While these figures              bank accounts. Such organisations often locate their
vary widely, they do highlight the importance of                 offices and recruit staff in the immediate area of
Hamas’ continued involvement in the funding of                   operations, which increases the efficiency of
affiliated institutions. And while it is also impossible         beneficiary selection process. They also often take
to give an accurate proportional breakdown of the                the presence or absence of other service providers
various funding mechanisms that benefit Islamic                  into account when opening offices in order to avoid
social welfare organisations, the indirect involvement           duplication.82
of Hamas in the process through “mediation” can be
assumed to be vital for any number of such
institutions.


E.     DELIVERY MECHANISMS

Most Islamic social welfare organisations rely on a
combination of applications and field surveys to
identify and select eligible beneficiaries, although,
due to the social stigma associated with soliciting
assistance, the latter method predominates.77

Selection by zakat committees generally is based
on socio-economic need rather than the piety or
political affiliation of beneficiaries. Although such
institutions accept applications from the needy,
they also rely on cases being brought to their
attention by members of the community and social
workers, and seek to identify beneficiaries
themselves. Decisions on individual cases are based
on independent verification by sub-committees
located in towns, villages, and refugee camps.78
These employ a variety of methods to determine

75
     See www.terrorismanswers.com/goups/hamas3.html.
Hamas’s military and to a lesser extent political activities
would thus appear to consume only a fraction of the
organisation's finances and overall efforts.
76                                                               79
   Bluma Zuckerbrot-Finkelstein, “A Guide to Hamas”,                Palestine Poverty Report 1998, p.70.
                                                                 80
Jewish Post of NY (www.jewishpost.com/jp0203/                       Ibid., p.17.
                                                                 81
jpn0303.htm).                                                       UNSCO-OCHA, “Food and Cash Assistance Programmes”,
77
   Only two of the 40 organisations surveyed by ICG              p.16
                                                                 82
considered solicitation a valid form of needs identification.        Among the organisations surveyed by ICG, 40 per cent
78
   ICG survey of 40 Islamic social welfare organisations,        chose demand as their criterion for office location, and 28
2002.                                                            per cent the location of homes of their personnel.
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IV. ISLAMIC SOCIAL WELFARE                                                levels found in some of the poorer sub-Saharan
    ACTIVISM DURING THE AL-AQSA                                           countries. 88
    INTIFADA
                                                                   These developments, most directly attributed to
                                                                   Israel's closures of Palestinian territory and
A.     BENEFICIARIES AND SERVICES                                  draconian restrictions on movement imposed in
                                                                   response to Palestinian violence, occurred just as the
The intifada has significantly worsened the                        ability of the PA to provide social services was
humanitarian situation in the West Bank and Gaza.                  collapsing and as demand for such services was
                                                                   increasing. Facing significantly diminished tax and
Within two months of renewed Israeli-Palestinian
                                                                   other revenues, the PA has been forced to slash
hostilities, the PA Ministry of Social Affairs stated
                                                                   spending.89 At the same time, demand for food and
there were about 200,000 people in need of
emergency assistance.83 From the beginning of the                  emergency assistance rose, as did demands on the
uprising to 2003, average incomes declined by                      health sector because of injuries sustained during the
roughly 50 per cent. By mid-2002, UNSCO                            conflict. Access to health facilities and schools was
estimated that the World Bank’s worst-case scenario                severely curtailed by movement restrictions and by
for the year “has already been reached”, with overall              physical damage. All in all, and despite the infusion
poverty levels at 60 percent – up from 21 per cent in              of much needed foreign assistance (much of it for
                                                                   budgetary support, including the salaries of over
September 2000 – and those in the Gaza Strip 10
                                                                   100,000 PA employees, and most of it from Arab
percent higher.84 “Each employed Palestinian is
                                                                   governments),90 the relative impact and importance
supporting nine persons on average, against less than
five prior to the crisis”-.85 Over half the population is          of Islamic organisations has risen significantly, and
unemployed.86 In January 2003, Christian Aid                       they have played a vital role in preventing an even
estimated that “almost three quarters of Palestinians              more dramatic humanitarian emergency. Though no
now live on less than U.S.$2 a day – below the                     reliable estimates exist, external financial assistance
                                                                   to such organisations has substantially increased.91 A
United Nations poverty line”.87 A recently released
World Bank report states:                                          Palestinian activist strongly opposed to Hamas went
                                                                   so far as to argue that “today, and particularly in
       Over half a million Palestinians in this
       formerly middle-income economy are now
       fully dependent on food aid. Per capita food
       consumption has declined by 30 per cent in the              88
                                                                      World Bank, “Two Years of Intifada”, op. cit. See also
       past two years, and the incidence of severe                 “Clare Short backs Losing Ground, Christian Aid's new
       malnutrition recently reported in Gaza by                   report on Palestinian poverty”, “children in Gaza, according
       Johns Hopkins University is equivalent to                   to UNICEF figures, are now as seriously malnourished as
                                                                   children in Congo and Zimbabwe … and it is getting worse”,
                                                                   30th January, 2003. Full text available at www.christian-
                                                                   aid.org.uk.
83                                                                 89
   Press statement by PA Minister of Social Affairs Intissar          “As a result of rising unemployment, reduced demand and
al-Wazir, 25 November 2000. See www.pmic.gov.ps.                   the Government of Israel's withholding of taxes collected on
84
   UNSCO, “The Impact of Closure and other Mobility                the PA's behalf, monthly revenues dropped from U.S.$91
Restrictions on Palestinian Productive Activities: 1 January       million in late 2000 to U.S.$19 million today”. World Bank,
2002 – 30 June 2002”, p. 2. As the report’s title indicates, the   “Two Years of Intifada”, op. cit. See also World Bank,
Israeli blockade has been the primary cause of the increase in     "Statement of the Task Force on Palestinian Reform”, 20
poverty. Given that it has largely intensified since June 2002,    February 2003.
                                                                   90
current poverty levels are almost certainly higher than they          Between September 2000 and the end of 2002, “the PA had
were in mid-2002.                                                  received about U.S.$1billion in budget support . . . from Arab
85
   Informal Ad Hoc Liaison Committee Meeting, London,              League states, the EU and Norway.” “Chair’s Summary”,
18-19 February 2003, Chair's Summary.                              Informal Ad Hoc Liaison Committee Meeting, The PA
86
   World Bank Report, “Two Years of Intifada, Closures and         employs roughly a third of all Palestinians currently working
Palestinian Economic Crisis”, 5 March 2003.                        and pays roughly half of all wages paid in the West Bank and
87
   “Malnutrition in Gaza 'as bad as Zimbabwe' says Clare           Gaza. See World Bank, “Two Years of Intifada”, op. cit.
                                                                   91
Short/30.01.03” at http://www.christian-aid.org.uk/news/              See World Bank, "Fifteen Months", op. cit., p. 58, which
stories/030130s.htm. For the full report, see Christian Aid,       estimates that Islamic NGOs received roughly U.S.$100
“Losing Ground: Israel, Poverty, and the Palestinians”,            million in external private flows in 2001. The comparative
January 2003, at http://www.christian-aid.org.uk/indepth/          figure offered for 1999 is U.S.$35 million, though the Bank
0301isra/ losing.htm.                                              assumes it in fact was higher.
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Gaza, Hamas and its charitable networks have de                  members of whom have been wounded, imprisoned
facto assumed the essential social functions.”92                 or traumatised. According to the Al-Salah Islamic
                                                                 Association:
According to a recent UN study, “NGOs and
charitable organisations (as a whole) are the major                     “What is new about this uprising is that it has
service providers, reaching about 60 per cent of the                    created new types of need, which has
total beneficiaries from regular and emergency                          increased the number of eligible beneficiaries
programs, followed by UNRWA (more than 34 per                           and diversified the social groups requiring
cent) and the PA Ministry of Social Affairs (6 per                      such assistance. These [new] groups currently
cent)”.93 Prior to the uprising, zakat committees –                     include landowners, owners of agricultural
which overall account for a minority of beneficiaries                   greenhouses, and those whose homes have
– assisted 450 families with cash. Today, they are                      been demolished by Israeli bulldozers.100
assisting an additional 6,550 families, a fifteen-fold
increase.94                                                      In the words of the Chairman of the Ramallah Zakat
                                                                 Committee, Shaikh Husni Abu Awad, “the increase
An increasing number of beneficiaries are receiving              in poverty has vastly increased the pressure upon our
emergency as opposed to regular program                          organisation, because we are receiving many more
relief.95Since the outbreak of the intifada, there has           applications than before”.101
been a pronounced shift towards the provision of
emergency food and cash assistance in particular.96 In           As a rule assistance is provided to families rather
2001, Islamic social welfare organisations (including            than individuals and is allocated on the basis of
zakat committees) were collectively the largest food             socio-economic rather than religious or political
donor in the occupied Palestinian territories after              criteria. A family in economic distress need neither
UNRWA. A recent United Nations study that                        consist of practicing Muslims nor support Hamas in
compiled statistics from the four largest Islamic                order to qualify for assistance. Indeed, heads of
social welfare organisations found that they were                charitable institutions interviewed by ICG took pride
providing food assistance to 145,450 households.97               in asserting that assistance was provided regardless
According to a senior official of the Swiss                      of religious or political background.102 UN officials
Development Agency, upwards of “half a million                   in the Gaza Strip confirmed that Islamic social
people” may currently be benefiting from emergency               welfare organisations refrain from demanding
cash and food assistance from such institutions.98               allegiance to Hamas as a condition or quid pro quo
                                                                 for services.103 Sara Roy found the same in her
Since September 2000, Islamic social welfare                     research: “All heads of Islamic institutions
organisations     have   established    emergency                interviewed adamantly maintained that anyone,
programs (essentially food and cash provision) that              regardless of socio-economic, religious or political
benefit families whose breadwinners lost their jobs,             background, could participate in their programs
whose homes have been demolished, who have lost                  (typically, this question elicited laughter from the
family members to the conflict (“martyrs”),99 or

92
   ICG interview, Amman, February 2003.                          considered a shahid. Suicide bombers, who are termed
93
   UNSCO-OCHA, Food and Cash Assistance Programmes,              istishhadi (“he who martyrs himself”), are in this scheme of
op. cit., p.18.                                                  things a sub-category, accounting for less than 10 per cent of
94
   Ibid., p.17.                                                  the total.
95                                                               100
    ICG survey of 40 Islamic social welfare organisations,           ICG E-mail interview with Al-Salah Islamic Association.
                                                                 101
2002.                                                                ICG interview, Abu Awad.
96                                                               102
   While continuing to provide regular assistance, 85 per cent        This point was emphasised by the head of a welfare
of 40 Islamic social welfare organisations surveyed by ICG       organisation in the Gaza Strip, ICG interview, Gaza City,
have directed their efforts towards emergency relief.            September 2002, and by the head of the Ramallah Zakat
97
      UNSCO-OCHA, “Food and Cash Assistance                      Committee, Shaikh Husni Abu Awad, ICG interview,
Programmes”, op. cit., p. 9. The organisations in question       Ramallah, 23 February 2003. In another interview ICG was
are: Al-Salah, Gaza Zakat Committee, Holy Land, Hebron           told of a known Fatah activist who received food support
Islamic Charitable Society.                                      from a Hamas-affiliated organisation after the first Israeli re-
98
   ICG interview, Jerusalem, 17 May 2002.                        occupation of the city in 2002. ICG interview, Abu Walid,
99
    A shahid (“martyr”) is routinely mistaken for a suicide      Ramallah, 24 February 2003.
                                                                 103
bomber by outside observers. In the Palestinian lexicon, any          ICG interview, UNSCO officials, Gaza City, 24 May
Palestinian killed as a result of the conflict with Israel is    2002.
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respondent)”.104 “All those in need”, the Al-Salah                 One of the other effects of the intifada appears to be
Islamic Association emphasised, “are equal to the                  better coordination between the Islamic institutions
Association”.105                                                   on the one hand and the PA and non-Islamic
                                                                   institutions on the other. Although Islamic NGOs
Demand for service is highest where poverty is most                appear to have made a concerted effort to comply
concentrated: the refugee camps and West Bank                      with PA regulations, beyond that such coordination
villages.106 UNRWA recently initiated programs in                  traditionally had been poor111. The current crisis is
villages located along the 1967 boundary, “a region                believed to have precipitated significant progress in
previously uncovered by social services providers                  this respect.112 In the Gaza Strip, for example, the
except for Islamic organisations whose presence has                territory has effectively been sub-divided by the
often been unique”.107 According to a recent study,                largest organisations in order to ensure better
Islamic social welfare organisations account for fully             coverage, and in more than one case, Islamic
a quarter of “food and other financial assistance in               organisations have coordinated with the PA in
the West Bank”.108                                                 setting up emergency plans.113 Such cooperation,
                                                                   which takes the form of information-sharing,
Similarly, 65 per cent of Palestinians who receive                 compiling lists of beneficiaries and joint provision of
medical assistance from such institutions are below                services, further underscores the reluctance and
the poverty line. The comparative figures for those                functional inability of the PA to curtail the Islamic
receiving medical services from UNRWA and the                      social welfare sector.
PA are respectively 61 and 34 per cent, suggesting
that Islamic social welfare organisations are both
efficient in the identification of those in need and               B.      DISRUPTION OF ISLAMIC SOCIAL
effective in reaching them.109                                             WELFARE ACTIVITIES BY THE PA

It is impossible to provide a reliable estimate of the             On a number of occasions since September 2000, the
volume of cash assistance. The UN study found that                 PA has demonstratively sealed the premises of
in the Gaza Strip, charitable organisations and NGOs               various Islamic social welfare organisations
accounted for 87 per cent of all cash assistance, with             affiliated with Hamas, imposed external supervision
the Al-Salah Islamic Association alone accounting                  upon their governing bodies and/or frozen their
for 33 per cent and the various zakat committees                   assets. According to PA officials, some 50 such
contributing an additional 21 per cent.110                         organisations had been closed as of January 2002; a
                                                                   U.S. consular official told ICG that the assets of
                                                                   twenty to 25 Islamic social welfare organisations
                                                                   have been frozen. 114 Typically, such measures have
                                                                   been taken in the wake of particularly devastating
104
     Roy, op. cit., p. 24. Though the general view was that        attacks in Israeli cities, although no charges of illegal
Islamic organisations assist practicing as well as non-            conduct are filed, few if any specific allegations are
practicing Muslims, it should be noted that it was not             made and the closure orders are generally rescinded
unanimously held. Observant Muslims are believed by some
to have better access to Islamic charitable assistance.
105
    ICG E-mail interview with Al-Salah Islamic Association.
106                                                                111
     For a study of the more severe impact of the Israeli              “Islamic institutions do not typically work with non-
blockade in Palestinian rural areas, see Oxfam International       Islamic institutions … [and] there is no comprehensive social
Briefing Paper 28, “Forgotten Villages: Struggling to              program or master plan (at the macro level) among Islamists
Survive Under Closure in the West Bank”, September 2002.           or within the Islamic movement that serves as a framework
107
    ICG interview, UNRWA headquarters, Jerusalem, April            for institutional development or programme planning”. Roy,
2002.                                                              op. cit., p. 26.
108                                                                112
     Riccardo Bocco et. al., “International and Local Aid              92 per cent of organisations surveyed by ICG noted an
during the Second Intifada: An Analysis of Palestinian             improved level of cooperation with the PA, and of
Public Opinion in the West Bank and Gaza Strip on their            coordination with other NGOs, especially since September
Living Conditions, (mid-June – 31st October 2001)” Geneva,         2000.
                                                                   113
2001, p.111. While such organisations are the largest single           This was the case, for example, in Jenin in the wake of
food distributor in villages, they are less important in refugee   Israel’s massive April 2002 incursion into the city and its
camps where UNRWA accounts for 83 percent of the total.            refugee camp.
109                                                                114
    Ibid., p. 76.                                                      Cited in World Bank, “Fifteen Months,” op. cit., p. 81;
110
    Ibid., pp. 18-19. Cash assistance is in some cases periodic    ICG interview, U.S. consular official, Jerusalem, 24 May
and in others a one-off occurrence.                                2002.
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or permitted to lapse within several weeks.                      prolonged incapacitation would result in a further and
Palestinians interviewed by ICG confirmed the                    probably dramatic surge in poverty and despair, thus
impression that recent PA closures of such                       confronting the PA with a dilemma of major
institutions are conducted primarily “for show” in an            humanitarian, social and political proportions.
effort to alleviate foreign pressures.115
                                                                 The decentralised and dispersed nature of many such
There are various explanations for such measures.                organisations further reduces the effectiveness of PA
One is that the PA is either unable or unwilling to              closures; in order to immobilise a single organisation,
confront the Qassam Brigades or the Hamas political              the PA would have to move against multiple
leadership, and therefore seeks to deflect                       branches as well, in the process affecting even more
international pressure – and vent its own anger at               beneficiaries and generating greater hostility. Rather
Hamas – by going after “soft” and easily accessible              than pursue such a course, a senior EU official in the
targets. Another is that the PA is sending a message             Gaza Strip notes, “the organisations and the PA are
to Hamas that if it does not bring the Qassam                    constantly reshaping deals with each other since the
Brigades to heel, it risks the existence of that wing of         PA cannot take responsibility for those left with
the Islamist movement – the network of social                    nothing. It does not have the appropriate tools”.119 A
welfare organisations – that it has traditionally                U.S. consular official in Jerusalem concurs that the
valued more than any other.                                      PA “lacks the administrative capacity to
                                                                 systematically take over” such institutions.120
There is less disagreement as to why such
organisations are permitted to resume business with
an almost unseemly haste. With poverty levels rising
to over 60 per cent while Israel withholds tax receipts
that prior to the uprising accounted for two-thirds of
PA revenues,116 the PA “is effectively bankrupted. …
[and] services have begun to break down ”.117 The
PA, as a result, has basically been reduced to meeting
the salary costs of public sector employees and
operational costs of essential services. Given
UNRWA’s chronic funding shortages and the
extremely limited excess capacity of secular NGOs,
the role of Islamic organisations is vital and, in some
instances, irreplaceable.118 With at least one in every
six Palestinians receiving assistance from an Islamic
social welfare organisation in some form, their


115
    ICG interviews, Ramallah, September and October 2002.
Most of those interviewed by ICG – including PA officials –
emphasised the arbitrary nature of such closures, stating that
in the majority of cases they were media events staged in the
wake of a Hamas suicide bombing on the basis of such
institutions’ affiliation with Hamas rather than any
presumption of illegal activity.
116
     World Bank, 15 Months, op. cit., p. v. After strong
American involvement, Israel and the PA reached an
agreement on the transfer of Palestinian revenues. Monthly
revenues transfers have now resumed. The payment of
revenue withheld since December 2000 has begun. If the
agreement is fully implemented, the PA is expected to
receive all outstanding revenue by the end of 2003.
117
    Ibid., pp. v-vi, 24-25. The World Bank notes that without
foreign subsidies which have kept the budget shortfall in the
range of 35 percent, “all semblance of modern economy
                                                                 119
would have disappeared by now”.                                    Ibid.
118                                                              120
     ICG interview with Karim Nashashibi, head of the               ICG interview, U.S. consular official, Jerusalem, 24 May
International Monetary Fund, Jerusalem, May 2002.                2002.
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V.      HAMAS, ISLAMIC SOCIAL                                    scrutinised and audited by the PA.123 According to
        WELFARE ACTIVISM AND                                     the Al-Salah Islamic Association, “social welfare
        TERRORISM                                                organisations are monitored, and any official party
                                                                 can examine their programs and audit their budgets.
                                                                 Military organisations and their supporters are by
The question of Hamas’s role in relation to Islamic              contrast neither monitored nor audited”.124
charities involves three distinct concerns: that the
charities in question might divert funds for illicit             The importance of crafting a sensible approach on
purposes; that they might serve as recruitment or                which types of funding ought to be banned and
propaganda vehicles for Hamas’s violent activities;              which allowed is underscored by the variety of
                                                                 international contributors – including the EU, the
and, more broadly, that they help maintain and
                                                                 World Bank, and United Nations agencies. But the
strengthen Hamas’s political role in the occupied
                                                                 difficulties in doing so are evidenced by the
territories.
                                                                 disharmony that currently characterises international
                                                                 policies on this matter. Key actors have developed
A.      TRANSFER OF FUNDS                                        their own strategies, weakening the effectiveness of
                                                                 the overall approach and creating unhealthy
Particularly after the 11 September attacks, concern             confusion and uncertainly among charitable
has grown about the possibility that Islamic charities           organisations, many of which currently operate
in the Palestinian territories may be funnelling                 under a cloud of suspicion. Ironically, the uncertain
money to terrorist activities. For some in the                   atmosphere is liable to contribute to more, not less,
international community, choking off so-called                   secrecy in financial policy by those involved in
charitable funding to groups engaged in deliberate               Islamic social welfare activism, and donors are being
attacks against civilians is vital to the success of the         scared off by fears of being accused of terrorist
current campaign, and requires a comprehensive                   links.125
approach that ignores distinctions between funding
for their legitimate and illegitimate activities. This is        One example of the lack of international coherence
viewed as particularly important given the fungible              involves the Jala’ Society for Culture and Art in
nature of financial contributions.                               Gaza City. It was established to help traumatised
                                                                 children recover through theatre and the arts and
Others, however, believe that Hamas is especially                receives funds from a variety of sources including
careful to compartmentalise its activities, both                 the EU, Japan, and Save The Children. Yet the U.S.
because it is a subject of international scrutiny and in         government refused to fund it because one board
order to maintain political support among                        member is a member of Hamas, despite the
Palestinians.121 Hamas itself categorically rejects the          assessment of a USAID official that the organisation
charge. In the words of its spokesperson, Abd-al-                has no political agenda or content.126
Aziz Rantisi, “Hamas does not fund, nor is it funded,
by local welfare organisations. If these organisations           The attitude of various international actors can be
were providing us with money that would mean that                summarised as follows:
the PA is complicit with us and is looking the other
way, and that’s an impossibility. Also, if these
organisations were really part of Hamas, we would
                                                                 123
not accept any support from them because that would                   ICG interviews, Ramallah, Betounia, Al Bireh, Gaza,
destroy them”.122 Heads of charitable institutions               February 2003.
                                                                 124
interviewed by ICG were equally adamant in their                     ICG e-mail interview with Al-Salah Islamic Association.
                                                                 125
denials, and claimed that their books were fully                      ICG interview, Abdel-Rahman, 10 October 2002; Alan
                                                                 Cooperman, “Those Observing Islamic Tenet Want to Aid
                                                                 Poor but Fear Persecution: In U.S., Muslims Alter Their
                                                                 Giving”, The Washington Post, 7 December 2002. Abdel-
                                                                 Rahman adds that fear of contributing to Islamic social
                                                                 welfare organisations appears to be particularly pronounced
121
    This continues a pattern previously established by secular   in the U.S. and Europe and less evident in Arab states, and
Palestinian organisations. See Joost R. Hiltermann, Behind       that thus far, there are no indications that Islamic institutions
the Intifada: Labor and Women’s Movements in the                 in the occupied Palestinian territories are abandoning their
Occupied Territories, (Princeton, 1991).                         traditional transparency in financial matters.
122                                                              126
    ICG telephone interview, 22 February 2003.                       ICG interview, USAID official, Jerusalem, May 2002.
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!      The U.S., which has designated Hamas in its                       In what is perhaps the most high-profile case to
       entirety as a terrorist organisation, currently                   date, U.S. authorities charged that the Holy
       considers any evidence of a U.S. charitable                       Land Foundation for Relief and Development
       institution’s affiliation with Hamas sufficient                   engaged in the illicit diversion of funds to
       grounds for legal sanctions,127 and has sought –                  benefit Hamas military activities. The evidence
       unsuccessfully – to press others to adopt a                       presented consisted of the membership of
       similar approach.128 A recent Council on                          alleged Hamas militants on the boards of several
       Foreign Relations Task Force on Terrorist                         organisations financed by the Foundation, the
       Financing echoed this policy, asserting that                      payment of funds to the families of Hamas
       “funds raised by other branches of Hamas for                      suicide bombers, and the confession of a former
       purportedly humanitarian purposes are known                       Foundation employee to his Israeli police
       to be used for terrorist attacks”. Although little                interrogators that he was involved in the
       evidence has been provided that such diversion                    diversion of funds.132
       is a widespread phenomenon or forms an
       important source for funding for Hamas or the              !      Israel outlawed Hamas in 1989 and considers
       Qassam Brigades,129 U.S. officials take the view                  mere membership a punishable offence. It has
       that the diversion of funds takes place on the                    urged the international community to shut down
       ground, and often goes through several                            assistance to charitable organisations with links
       charitable “cut-outs”, making the precise                         to Hamas. That said, it has chosen not to close
       tracking of funds difficult, if not impossible.130                down the network of affiliated social welfare
       The U.S. approach is embodied in domestic                         organisations that operate in areas of the West
       law, which makes the establishment of any                         Bank and Gaza Strip that have been under its
       organisational link to Hamas – including                          physical or security control.133
       targeted fundraising for its affiliated social
                                                                  !      The EU, which has classified Hamas’s Qassam
       welfare organisations – grounds for designation
                                                                         Brigades but not Hamas as a whole as a terrorist
       as a terrorist entity.131
                                                                         organisation, has only taken measures against
                                                                         Islamic social welfare organisations affiliated
                                                                         with Hamas that additionally maintain links
127                                                                      with its military wing. In their investigation of
    Pursuant to Executive Order 13224, legal sanctions may
include banning the affiliated organisation, seizure of its              the Al-Aqsa Foundation, for example, the
assets, and prosecution of its executives. Within the occupied           German and Dutch authorities did not consider
Palestinian territories, U.S. government funds may not be                its purported affiliation with Hamas sufficient
used to support any social welfare organisation considered to            grounds for closure. While confirming that the
be affiliated with Hamas.                                                Al-Aqsa Foundation was “subject to
128
     ICG interview with U.S. counter-terrorism official,                 investigation” by the Dutch intelligence agency
Washington, February 2003.
129                                                                      AIVD, the latter’s spokesperson stated, “Hamas
    Council on Foreign Relations, Terrorist Financing: Report
of an Independent Task Force Sponsored by the Council on                 also conducts social work in the Palestinian
Foreign Relations (New York, 2002), p. 21. The report also               territories… We have until now been unable to
asserts that European states “encourage…terrorist                        demonstrate that money raised by Al-Aqsa in
organisations to fundraise on their soil” but provides nothing           the Netherlands has been funnelled to terrorist
to substantiate the claim.
130
    ICG interview with U.S. official, Washington, February
2003.
131
    See Holy Land Foundation for Relief and Development v.
                                                                  132
Ashcroft, op. cit.; Human Rights Watch, “Erased in a                  Palestinians and others point out that confessions often
Moment”, op. cit., p. 102. Supporting the view that the success   are extracted as a result of Israeli torture and, therefore,
of such organisations is based on their profiles as legitimate    ought to be treated with extreme scepticism. See, e.g.,
charities rather than a belief among contributors that they       B’Tselem, “Torture of Palestinian Minors in the Gush Etzion
function as Hamas front organisations, President Bush stated,     Police Station” (July 2001), at http://www.btselem.org.
                                                                  133
“I am confident that most of the donors to the Holy Land              Israel has, however, closed down organisations within
Foundation, and perhaps even some of the individuals who are      Israel and in East Jerusalem on the grounds that these are
associated with the Foundation, had no idea how its money         affiliated with Hamas. Given that Israel has pursued similar
was being used. They wanted to relieve suffering in the region    policies towards organisations affiliated with the PA and
of the world that has suffered too much”. See                     other Palestinian factions, such measures appear to stem
http://www.white ouse.gov/news/releases/2001/12/20011204-         from the general Israeli effort to assert sovereignty over East
8.html.                                                           Jerusalem rather than a specific campaign against Hamas.
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       activities in the conflict region”.134 Similarly, the            I went to Arafat and said, ‘On what basis are
       German authorities only undertook legal                          you closing them down?’”.138
       measures against the Al-Aqsa Foundation after
       they determined otherwise.135                             !      Arab states have tended to consider Hamas a
                                                                        legitimate movement engaged in a lawful
       An EU official interviewed by ICG made clear                     struggle against foreign military occupation, and
       the issue is highly sensitive, refusing to discuss               – prior to coming under sustained international
       it in any detail and saying obliquely that it was                pressure on this issue – as a rule viewed
       “under consideration”.136 The discomfort                         affiliation as either irrelevant or an asset. Some,
       probably reflects competing considerations, on                   particularly Saudi Arabia, are beginning to take
       the one hand of U.S. pressure and on the other                   steps to supervise charitable societies based
       of continued EU mediation to secure a                            within their borders, introducing limited forms
       Palestinian cease-fire – efforts that require                    of financial regulation where none previously
       maintaining close channels of communication                      existed.139 However, such initiatives are
       with the Hamas political leadership.                             designed to prevent the illicit diversion of funds
                                                                        for military purposes, rather than to restrict
!      The PA, which formally has espoused a                            funding to social welfare organisations affiliated
       position similar to that of the EU, in fact has in               with political movements.140
       the past closed down Islamic social welfare
       organisations on the basis of their affiliation
       with Hamas rather than the Qassam Brigades as             B.      RECRUITMENT AND INCITEMENT
       such, and at other times allowed organisations
       that the EU would have banned to continue                 Some in the international community see Hamas-
       functioning.137                                           affiliated institutions as recruitment offices for the
       The limitations of the PA approach were                   organisation itself or, particularly in the case of
       evidenced in December 2001 when, responding               mosques and schools, as vehicles for propaganda and
       to severe international pressure in the wake of a         incitement. Hamas officials deny this, arguing again
       number of devastating Hamas attacks, it closed            that there is absolute separation between them and
       down one of the largest Islamic social welfare            Islamic social welfare organisations, and stating that
       organisation, Al-Islah. A Palestinian involved            “the services provided by Islamic social welfare
       in the case, Ziad Abu-Amr, chairman of the                organisations do not benefit Hamas, and do not serve
       Political Committee of the Palestinian                    as advertising for the movement”.141 Again, the view
       Legislative Council, remarked: “We examined               was echoed by heads of charitable institutions, who
       their books carefully. There was nothing amiss.           claimed they did not “mix charitable with political
                                                                 work.”142 One went so far as to state that Palestinian


                                                                 138
                                                                      Human Rights Watch, “Erased in a Moment”, p. 103.
                                                                 ICG interview, UNRWA headquarters, Jerusalem, 20 April
134
     “After German Banning: The Netherlands Investigates         2002, confirmed that during the current uprising, the Hamas
Al-Aqsa”, NRC Handelsblad 7 August 2002.                         leadership has consistently conveyed the message that its
135
     Steven Derix and Joost Goes, “Al-Aqsa and the Hamas         social activities are firmly separated from its political and –
Connection”, NRC Handelsblad 14 August 2002. Specifically,       even more so – its military activities.
                                                                 139
the German branch of the Al-Aqsa Foundation was accused of            Karen de Young, “Saudis Detail Steps on Charities:
raising money to support the families of Hamas suicide           Kingdom Seeks to Quell Criticism of Record on Terrorist
bombers, a charge denied by the Foundation.                      Funding”, The Washington Post, 3 December 2002. A PA
136
    ICG interview, Brussels, February 2003.                      official informed ICG that U.S. pressure had achieved some
137
    The latter primarily concerns organisations that provide     success in curtailing Gulf Arab funding to Hamas. ICG
financial and other assistance to the families of Palestinians   interview, Ramallah, March 2003.
                                                                 140
who have conducted suicide bombings. See infra at IV.C. A            U.S. officials told ICG that they regularly raise the issue
former member of the PA security services told ICG that          of funding for Hamas or Hamas-affiliated organisations with
during the mid-1990s, he and his colleagues repeatedly           Gulf capitals though neither with the intensity, nor the
pressed the U.S. to shut down U.S.-based charity                 results, that occur with regard to al-Qaeda funding. ICG
organisations that allegedly provided funds to Hamas – only      interviews, Washington, February 2003.
                                                                 141
to be told by their American interlocutors that, under the law       ICG telephone interview with Rantisi, 22 February 2003.
                                                                 142
at the time, funding of legitimate welfare activity could not         ICG interview, Mahmoud Misleh, Director of Islamic
legally be barred. ICG interview, Ramallah, March 2003.          Charitable Society, Al Bireh, 23 February 2003. ICG
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political factions “do not need social welfare                   institutions” in this manner. “That is their strength,
organisations to recruit new members … if a faction              their existence”.148
is unable to recruit members directly, then what is the
justification for its existence, what is it doing”?143 A         In the more direct language of a USAID official with
rather sceptical secular Palestinian journalist took a           extensive experience in the occupied territories:
more nuanced view, claiming that in addition to
traditional recruitment avenues, it is the Islamic                        Provision of services certainly makes Hamas
youth and sports associations, rather than charitable                     look good, but that does not make the
and social service institutions, that are used by                         beneficiaries natural candidates to become
Hamas for recruitment purposes.144 Yet another                            suicide-bombers. There is no evidence that
pointed out that when welfare organisations affiliated                    social services organised by Islamic groups
with Hamas assist the families of Palestinian                             are used to recruit people to conduct attacks.
prisoners, they are undoubtedly promoting the                             Recruitment happens, but elsewhere, for
Islamist organisation.145                                                 example in mosques.149

It is worth distinguishing between these two types of            Where individuals working for or benefiting from
alleged activity. The first (recruitment of activists)           social welfare institutions come to support or join
purportedly is undertaken through social welfare                 Hamas, recruitment appears to derive from a
organisations. But, as previously noted, Hamas seeks             confluence of factors. Personal bonds and respect for
to derive prestige and political profit from social              the organisation formed as a result of direct contact
welfare activism precisely by maintaining the                    with its social welfare network may or may not be
professionalism and integrity of such institutions               among these, and where present may or may not be a
rather than politicising them. It appears to                     significant factor.150
understand better than others that if schools and
medical clinics developed a reputation as
recruitment centres, and services were provided in
exchange for support, the crown jewels of the                    148
                                                                     Human Rights Watch, “Erased in a Moment”, op. cit., p.
Islamist movement would be irretrievably debased                 103. ICG interview, senior UN officials, Gaza City, May
in exchange for short-term gains of dubious value.               2002 confirmed this view.
“We are an organisation that offers social services to           149
                                                                     ICG interview, USAID official, Jerusalem, 21 May 2002.
a society in need; if we cooperate with a specific               Hamas officials, Israeli academics, and journalists alike have
political party, then we lose our social credibility and         noted that the large number of Palestinians volunteering to
this will mean failure in our mission”, said                     conduct suicide bombings and other attacks during the
                                                                 current uprising has rendered traditional recruitment methods
Mahmoud Misleh, director of the Islamic Charitable
                                                                 all but superfluous. See, for example, Eyad Sarraj, “Suicide
Society of al-Bireh.146 Senior UN officials working              Bombers: Dignity, Despair, and the Need for Hope”, Journal
in the occupied Palestinian territories as well as               of Palestine Studies, XXXI:4, (Summer 2002); Lori Allen,
Palestinian NGO activists interviewed by ICG                     “There are Many Reasons Why: Suicide Bombers and
concur that Hamas is strict about the                            Martyrs in Palestine”, Middle East Report 223 (Summer
compartmentalisation of its activities.147 The                   2002), pp. 34-37; Avishai Margalit, “The Suicide Bombers”,
independent Palestinian legislator Abu-Amr echoed                The New York Review of Books, 16 January 2003 at
                                                                 http://www.nybooks. com/ articles/15979.
this view: Hamas “will not jeopardise their social               150
                                                                      Although concerns about recruitment in the context of
                                                                 Islamic social welfare activism go considerably beyond the
                                                                 phenomenon of suicide bombers, it is noteworthy that an
interview, 24 February 2003, invited sceptics “to ask the        Israeli writer who examined the profile of Palestinian suicide
geriatrics we assist if they have become members of              bombers concluded that “the Palestinian case is the only one
Hamas”.                                                          in which civilians of one society regularly volunteer to
143
      ICG interview, Amira Harun, head of the women’s            become suicide bombers ... They may be chosen by Hamas
section of the Islamic Salvation Party and Director of the Al-   to carry out a suicide bombing mission, but for the most part
Fadila Womens’ Association, 25 February 2003.                    the volunteers have not been active members of these
144
     ICG interview, Wa’el Manasra, Ramallah, 23 February         organisations”. Margalit, “The suicide bombers”, op. cit.
2003.                                                            Indeed, one individual with whom ICG came into contact
145
    ICG interview with member of Fatah, Ramallah, March          stated that he “volunteered to conduct a suicide bombing for
2003.                                                            Hamas even though I do not feel close to them politically or
146
    ICG interview, 23 February 2003.                             even pray”. ICG interview, Jerusalem, May 2002. At the last
147
     ICG interview, UNRWA Headquarters, Jerusalem, 20            moment, the individual decided not to conduct his assigned
April 2002; Abdel-Rahman, Ramallah, 10 October 2002.             attack.
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The second area of concern involves mosques                      follow the orthodox strictures adopted by Hamas.
dominated by Hamas activists and schools run by                  Unveiled women and others who are less than
Islamic social welfare organisations. While Hamas                strictly observant, for example, are presented as
spokesperson Rantisi likely is correct when he states            sinners destined for hell,156 and such teachings
that “nearly 99 per cent of mosques are under the                doubtlessly undermine both the further development
supervision of the PA Ministry of Religious Affairs,             of a pluralistic Palestinian society and the prospects
which appoints their imams, pays their salaries, and             for Israeli-Palestinian reconciliation. 157
covers all their expenses”, he also notes that a
substantial proportion of those who attend such                  With respect to what many might consider more
mosques are “supporters of Hamas”.151 If one adds to             conventional forms of incitement, such as teachers
this that a significant number of PA appointed                   who deliver diatribes against the Israeli occupation
imams [clerics] are Hamas sympathisers, it is hard to            or eulogise Palestinians who meet their death
refute the claim made by a Palestinian journalist that           attacking Israelis, this has since September 2000
“Hamas exploits its extensive presence in the                    become a fairly widespread phenomenon throughout
mosques to convene meetings and recruit youths                   the Palestinian school system. Palestinians, however,
[shabab]”.152 Other observers have noted that during             do not consider this particularly pernicious.
periods of PA laxity in supervision of mosques, and              According to a PA official, “the pupils are not in
particularly during periods of heightened                        need of incitement; the daily practices of the
confrontation with Israel, certain imams will deliver            occupation and what these pupils see with their own
extremist sermons.153                                            eyes is more than sufficient for this purpose”.158 A
                                                                 secular NGO activist agrees that such practices are
The issue of schools is more complex. Legally, all               par for the course in the current circumstances, and
Islamic schools – the large majority of which are                unlikely to have a significant effect because in
pre-schools – are private entities, but are                      contrast to the indoctrination that can occur in
nevertheless obliged to adhere to the formal PA                  Islamic schools “children are not being told anything
curriculum and subject to monitoring by the                      they don’t already know and don’t experience
Ministry of Education.154 In the past, the Ministry              everywhere else”.159 Unlike other forms of abuse of
has closed down schools that failed to comply with               Islamic social welfare organisations, those related to
its regulations.155 The problem, rather, is that there is        mosques and schools are inherently difficult to
no formal curriculum for pre-schools and that                    eliminate; the organisational recruitment that occurs
primary and secondary schools are essentially free to            in houses of worship is by its nature a clandestine
provide supplementary instruction to their students.             and incidental process extremely difficult to detect,
Within the context of supplementary Islamic                      while those who preach intolerance in Islamic
instruction in Hamas-affiliated schools, it is not               schools will maintain that they are doing nothing but
unusual for teachers to present a highly intolerant              engaging in the basic right to transmit their faith to
interpretation of Islam, one which emphasises the                the next generation.160
difference and proclaims the inferiority not only of
non-Muslims, but also of Muslims who do not


151                                                              156
    ICG interview, Rantisi.                                          ICG interviews, parents and relatives of children enrolled
152
    ICG interview, Wa’el Manasra, Palestinian journalist, 23     in Islamic schools, February 2003.
                                                                 157
February 2003.                                                        One PA official said, “Mosques and schools run by
153
    ICG interviews, Ramallah 26 February 2003.                   Hamas are promoting a version of society in which I do not
154
      Frequent charges have been levelled that the PA            want my daughter to grow up”. ICG interview, Ramallah,
curriculum incites and encourages hatred. On the other hand,     March 2003.
                                                                 158
some experts who have examined the matter have concluded             ICG interview, al-Asi.
                                                                 159
that these charges largely fail to withstand serious scrutiny.       ICG interview, Abdel-Rahman.
                                                                 160
See, for example, Nathan J. Brown, “Democracy, History, and           Indeed, as Manasra put it: “Hamas’s discourse in its
the Struggle over the Palestinian Curriculum”, The Adam          interaction with the people is an indirect discourse. Hamas
Institute, November 2001, at http://www.geocities.com/           understands the complexities of the Palestinian situation
nathanbrown1/Adam_Institute_Palestinian_textbooks.htm#_ft        well, and therefore its approach to the people is cautious and
n1.                                                              precise. This approach is always made in the context of
155
     ICG interview, Alia al-Asi, PA Ministry of Education        proclaiming ‘Islam is the solution’, and within the context of
official responsible for licensing private schools in the West   this slogan it begins to elaborate upon the details”. ICG
Bank, 23 February 2003.                                          interview.
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C.      RECRUITMENT: THE SPECIAL CASE OF                         took strong exception with the notion that monetary
        FINANCIAL ASSISTANCE TO FAMILIES                         compensation is either a motivating factor for suicide
        OF SUICIDE BOMBERS                                       bombers, a source of their enhanced posthumous
                                                                 status, or a valid explanation for the persistence of
                                                                 the phenomenon.162 In fact, there is strong evidence
During the current uprising, Islamic social welfare
                                                                 that neither rewards nor penalties provided to the
organisations and other Palestinian organisations
                                                                 families have much to do with the phenomenon. In
have made a concerted effort to provide financial
                                                                 an attempt to discourage Palestinians from engaging
assistance to so-called martyrs’ families – a category
                                                                 in such attacks, Israel began demolishing the homes
consisting of the surviving relatives of any
                                                                 of suicide bombers on a systematic basis in April-
Palestinian combatant or civilian who meets his or
                                                                 May 2002163: nonetheless, by Israel’s own admission,
her death as a result of the conflict with Israel,
                                                                 attempts to carry out these attacks continue.164 What
irrespective of the circumstances. Within this
                                                                 is more, despite the knowledge that their families
context, payments are also made to the families of
                                                                 would suffer harsh consequences, Palestinian suicide
suicide bombers and others who are killed in the
                                                                 bombers have not hesitated to posthumously reveal
process of attacking civilian targets. Others (most
                                                                 their identities.165
notably Iraq)161 have gone beyond normal custom
and provided the families of suicide bombers with                The bleak and more pertinent reality would seem to
premium payments over and above those accorded                   be that Hamas and other Palestinian organisations
to other families.                                               have an excess of volunteers and no longer need to
                                                                 engage in active recruitment, and that Hamas, other
As the phenomenon of Palestinian suicide bombings
                                                                 Palestinian organisations and a substantial body of
has escalated since 2001, and these have increasingly
                                                                 Palestinian public opinion consider attacks on Israeli
been directed at civilian targets, much of the
                                                                 civilian targets legitimate reprisals for systematic
international community has condemned not only
                                                                 Israeli violations of their rights – including the
premium payments, but non-preferential ones as
                                                                 killing of Palestinian civilians. Material incentives or
well, on the grounds that any form of monetary
                                                                 disincentives play at best a marginal role in the
compensation provides a financial incentive for such
                                                                 decision to commit these acts.
attacks, enhances the stature of those who conduct
such bombings, and more generally promotes and                   Payments by charitable institutions to families of
encourages additional suicide attacks. EU states have            suicide bombers stand out in part because of the
considered involvement in such assistance sufficient             absence of a generalised Palestinian welfare system.
evidence of a link with the Qassam Brigades.                     In this context, even non-preferential payments can
Germany, for example, outlawed Al-Aqsa after                     be considered “premium payments” insofar as the
obtaining evidence that the foundation, among its
activities, provided material support to the relatives
of suicide bombers, and the U.S. has made similar                162
                                                                    ICG interviews. See also Allen, “There are Many Reasons
charges against the Holy Land Fund. While the PA
                                                                 Why”, op. cit; Margalit, “The Suicide Bombers”, op. cit.;
has not taken a clear position on this practice, its             Sarraj, “Suicide Bombers”, op. cit., which discuss a host of
treatment of social welfare organisations that provide           factors but either fail to mention or explicitly refute the view
non-preferential payments to such families suggests              that financial reward for the families of suicide bombers is
that it views such assistance as legitimate welfare              relevant. Similarly, Human Rights Watch, “Erased in a
assistance to the surviving relatives of Palestinians            Moment”, op. cit., despite its condemnation of the payments,
killed in the conflict.                                          does not claim they encourage such attacks.
                                                                 163
                                                                     House demolitions encompass categories of Palestinians
                                                                 that go far beyond suicide bombers and include, for example,
Whether such payments in fact play a part in                     wanted Palestinian militants.
promoting suicide bombings is, at best, debatable.               164
                                                                     See, e.g., statement by IDF Chief of General Staff Lt. Gen.
Many Palestinians and others interviewed by ICG                  Moshe Ya’alon, www.idf.il/newsite/ English/0212-3.stm, 12
                                                                 February 2003; Haaretz, www.haaretzdaily.com/hasen/spages/
                                                                 261766.html 11 February 2003. Nevertheless, Ya’alon and the
                                                                 Israeli government have consistently maintained that house
161
   Palestinian families of suicide bombers reportedly receive    demolitions and similar reprisals do have a deterrent effect.
                                                                 165
U.S.$25,000 from Iraq. Families of Palestinians killed under         See, e.g., “The Fatah movement celebrates ‘success’ of
other circumstances related to the confrontation with Israel     double suicide terror attack in Tel Aviv”, IDF
reportedly receive U.S. $10,000. See The Washington Post,        spokesperson’s unit, www.idf.il/newsite/english/0108-5.stm,
13 March 2003.                                                   8 January 2003.
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families would receive nothing if the bomber had                 The Al-Salah Islamic Association, which is closely
died a natural death instead of targeting civilians.             identified with Hamas, also specifically refuted the
Yet, it is precisely the absence of a Palestinian                allegation that such institutions give preference to
public welfare system that has been seized upon by               Hamas families:
Palestinians – including vocal critics of such attacks
– to defend such payments:                                               This never happened and will never happen,
                                                                         for a simple reason. The Association assists
Palestinians for the most part support the provision                     the families of martyrs on the basis of
of assistance to families that have lost loved ones,                     humanitarian grounds in the context of its duty
and do not believe that families of perpetrators of                      to provide relief. This means that all those in
attacks against civilians should be denied such                          need, whether martyrs or not, are equal. Any
assistance. The prominent Gaza-based psychiatrist                        family which suffers as a result of a fatal car
and human rights activist Eyad Sarraj said in a                          accident will be treated equally as far as the
recent interview:                                                        Association’s criteria are concerned to a
                                                                         family that loses its breadwinner to
        I myself am deeply opposed to suicide                            martyrdom at the hands of the occupation.170
        bombings, yet I too support the families. As a
        Palestinian, as an Arab, as a Muslim, and as a           Premium payments probably do not encourage
        human being ...I cannot leave their children             suicide bombings against civilians either; however,
        in poverty – I have to do what I can to leave            they are clearly intended for this purpose and
        them some hope and dignity. This is why we               therefore the international community is on solid
        support the families – certainly not to                  ground in seeking to strictly prohibit them. It also is
        encourage suicide bombing.166                            of critical importance that the PA take steps to
                                                                 actively delegitimise such forms of violence and to
Additionally, according to Roy, Palestinian Islamic              end the general climate of impunity and leniency
social organisations worked even with the families               that prevails in this regard.
of Palestinians who were denounced as collaborators
with the Israelis, trying hard to reintegrate them into
society.167 The same point was made to ICG by the                D.      ISLAMIC SOCIAL WELFARE ACTIVISM
head of a Ramallah zakat: “we do not ask how the                         AS POLITICAL LEVERAGE
death happened, but only ask for the death
certificate; the social worker decides based on the              Even if Islamic social welfare organisations are not
family’s needs for assistance. We have 100 hundred               the primary engines of Hamas, the point is made
sponsored children whose fathers have been killed                that they are essential to sustain it politically and
for collaborating with the occupation. This does not             culturally. Hamas itself has not sought to conceal or
concern us”.168 Asked specifically whether assistance            downplay the value of its network of social welfare
to families of suicide bombers might encourage such              organisations to the development and growth of the
attacks, the head of another organisation responded:             organisation; independent observers and critics
“Does our sponsoring collaborators’ children                     concur that Hamas would not have achieved its
encourage people to collaborate with Israel”?169                 prominent role in Palestinian politics and society
                                                                 without them.171 On this basis some have concluded
                                                                 that social welfare organisations affiliated with
                                                                 Hamas are vital to the maintenance of its military
166
    Human Rights Watch, “Erased in a Moment”, op. cit., p.       infrastructure, and their elimination central to any
105. HRW’s own position (p. 106) is that payments to the         effort to compel the Qassam Brigades to cease
families of suicide bombers should be provided “only as part
of a general welfare program based on demonstrated
financial need”.
167                                                              170
    Sara Roy, “Beyond Hamas: Islamic Activism in the Gaza           ICG E-mail interview with Al-Salah Islamic Association.
                                                                 171
Strip”, Harvard Middle Eastern and Islamic Review, Number             Anthony Shadid, Legacy of the Prophet: Despots,
2, (1995).                                                       Democrats, and the New Politics of Islam, (Boulder, 2002),
168
    ICG interview with Sheikh Husni Abu Awad, head of            pp. 111-150. Secular Palestinian activists acknowledge this,
Ramallah Zakat committee, Ramouni building, 23 February          making the point that allegiance to Hamas often is less a
2003.                                                            function of ideological sympathy than of gratitude for social
169
   ICG interview with Mahmoud Misleh, director of the            assistance. ICG telephone interview with Fatah member,
Islamic Charitable Society of Al Bireh , 23 February 2003        Ramallah, February 2003.
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attacking civilians. Seen from this perspective, it is           A systematic crackdown against Hamas-affiliated
precisely the efficiency of such institutions that               Islamic organisations could have other backlash
poses the problem, for it helps generate support for             effects. First, it would risk further alienating
the movement and its political program.172 U.S. and              Palestinians from the West. In a situation where “the
Israeli officials argue that a systematic crackdown              Gaza Strip and some West Bank villages are
on Islamic social welfare organisations and                      surviving on aid from Islamic organisations”,176
charitable contributions is an effective method of               many Palestinians (and perhaps others as well)
curbing Hamas’s armed activities, and have                       would conclude that their humanitarian interests
correctly noted that there has been no genuine                   were being targeted not on account of legitimate
attempt thus far to implement such a policy.                     concerns about the conduct of the benefactor, but
                                                                 because their beneficiaries were Palestinian and
Few would argue with the fact that a concerted effort            Muslim. This concern is heightened by the failure of
to shut down such institutions would hurt Hamas’                 the international community – despite considerable
standing considerably.173 While it is impossible to              efforts – to respond adequately to the growing
measure the impact of its charitable work on its                 humanitarian emergency. In early February 2003,
popularity, Hamas’ positive image is undoubtedly                 UNRWA, which provides nutritional support to over
and most probably significantly related to the                   700,000 Palestinians compared to a pre-intifada
efficiency of its social services, particularly as               figure of 11,000, stated that its plea for an immediate
compared with the PA’s weaknesses.174                            injection of U.S.$94 million had fallen on deaf ears,
                                                                 with only Switzerland committing U.S.$1.5 million.
The more difficult question is whether such                      Noting that its food warehouses (some of which
measures would have a discernable impact on                      have been destroyed by Israel) will be empty in
Hamas’ military capabilities and – perhaps more                  weeks, UNRWA Commissioner General Peter
importantly – popular support for its attacks upon               Hansen concluded, “it’s going to be politically very
Israeli civilians. On the basis of the evidence of the           destabilizing”.177
past two years, the increasing socio-economic havoc
that is certain to ensue might well radicalise rather            Secondly, some argue that a blanket banning of
than undermine Hamas’s popular constituency, and                 Hamas-affiliated     social     organisations   could
enlarge rather than reduce it. Today even more than              jeopardize efforts to steer the organisation away
in the past, Hamas’s armed activities appear to be               from political violence. The intra-Palestinian
predominantly a function of political factors –                  negotiations that began with EU mediation in mid-
despair at the situation in the territories; Israeli             2002 and continued with Egyptian sponsorship in
actions; pressure by regional sponsors; its shifting             Cairo in January 2003, although widely described as
relations with the PA and other Palestinian factions;            attempts by the PA and Fatah to persuade Hamas to
and the level of popular support for the intifada. The           cease attacks on Israeli civilians, have at a deeper
fact that Hamas historically has refrained from                  level in fact been precisely about such a political
armed attacks, and in particular attacks against                 reconfiguration.178 Still others believe that Hamas’s
Israeli civilians, when these lacked popular support             resort to attacks against civilians is an historical
and escalated them as public opinion radicalised,175
further suggests that the organisation is unlikely to
be fundamentally swayed by any concentrated effort               176
                                                                     ICG interview, senior UN officials, Gaza City, 20 May
targeting its social infrastructure.
                                                                 2002; Jerusalem, 25 May 2002.
                                                                 177
                                                                      Chris McGreal, “Food Running out in Gaza as Aid
                                                                 Appeal Fails”, The Guardian, 11 February 2003.
172                                                              178
    For the argument that Hamas’s social service program              See, for example, “The Palestinian Factions National
bolsters its popularity and therefore heightens the threat of    Dialogue” (translations from the Palestinian press) at
terrorism, see Daniel Benjamin and Steven Simon, The Age         http://www.jmcc.org/new/03/jan/dialogue.htm;         Mideast
of Sacred Terror, (New York, 2002), p.194.                       Mirror issues for January 2003. There are many reasons why
173
    See, e.g., Charmaine Seitz, “Hamas Stands Down?”,            the dialogue has failed to date, among them Hamas’s
Middle East Report 221 (Winter 2001), p. 5.                      reluctance to eschew acts of violence absent comparable
174
    “Let’s be blunt,” said a PA official. “When kids go to       Israeli assurances and its refusal to extend any ceasefire to
schools run by Hamas or to charities run by Hamas, it helps      territory occupied in 1967 or to non-civilians. Beyond that,
the organisation.” ICG interview, Ramallah, March 2003.          however, lie intense discussions about the future of the
175
    This point was repeatedly emphasised by Fatah members        Palestinian national movement, its political orientation, and
determined to curb the influence of Hamas. ICG telephone         the respective influence of Fatah and Hamas. ICG interviews
interviews, Ramallah and Gaza, February 2003.                    with Fatah members, Gaza, March 2003.
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anomaly and that, at its core, it remains an                     underway, built on the premise that the Palestinian
essentially socio-religious, reformist organisation in           leadership that will emerge from the current
the mould of the Muslim Brotherhood from which it                confrontation with Israel must rest on far stronger
emerged. According to this view, it harbours above               grass-roots support and links with civil society. The
all the ambition to “re-Islamise” Palestinian                    creation of secular NGOs capable of providing a
society179 with the hope of ultimately taking over the           variety of services to the Palestinians people is seen
political leadership of the Palestinian people. There            as a first step in this long-term enterprise.184
is, of course, ample reason to be sceptical of
Hamas’s intentions.180 But eradication of the Islamic
social welfare sector, and thus of Hamas’s only
realistic alternative to militant rejectionism, risks
guaranteeing the futility of further attempts to
integrate it into a Palestinian strategic consensus.181

Finally, while forcibly closing down the network of
Islamic social welfare organisations affiliated with
Hamas would over time reduce allegiance to the
organisation, it is less certain that those who
implemented this campaign would benefit from
Hamas’s decreased support. Hamas’s increased
influence is, at least in part, a reflection of the lack
of any credible alternative system of social
assistance. A more logical approach, therefore,
would be to challenge Hamas on its own terms by
effectively competing with it in the realm of social
welfare activism. The consensus among Palestinians
appears to be that even a reformed PA would be
unsuited to this task, but that a more responsive
movement with prior experience in this arena, such
as Fatah or the Palestine Peoples’ Party (formerly
the Palestinian Communist Party, PCP),182 might fare
better.183 Such efforts appear to be at least partly


179
    See Legrain, op. cit.
180
    A Hamas official openly derided Egyptian efforts to reach
a one-year truce. ICG interview, Gaza, March 2003.
181
    In research conducted approximately one year before the
beginning of the current Palestinian uprising – a time when
the fortunes of Hamas’s military wing and political
leadership were perhaps lower than at any time since the
movement was established in 1988 – Roy found some
backing for this view. Rather than utilising social welfare
activism to reinvigorate a paramilitary strategy that appeared
to have failed, she found Hamas activists proposing such
activity as an alternative to it, effectively returning to the
religio-cultural emphasis pursued by the Muslim
Brotherhood prior to the 1987 intifada. Roy, “The
Transformation of Islamic NGOs in Palestine”, op. cit.
182
     See Hiltermann, Behind the Intifada, op. cit., for an       rivals, noting that they would rely primarily on foreign
account of secular nationalist and communist social activism     funding rather than grassroots participation.
                                                                 184
during the 1970s and 1980s.                                          One such NGO is the Palestinian Foundation for Culture,
183
     During the preparation of this report, ICG received         Science and Development, which was founded in November
persistent accounts that senior Fatah officials were working     2002. ICG interviews, Gaza, March 2003. It defines itself as
on such an initiative. Other Palestinian sources contacted by    a “non-profit, and non-sectarian organisation . . . fully
ICG, while unaware of this, questioned the ability of such       independent and not affiliated with any political or religious
organisations to compete effectively with their Islamist         party inside or outside Palestine.”
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VI. CONCLUSION                                                   above the heads of Islamic social welfare
                                                                 organisations that execute their service mandates in a
                                                                 professional manner and neither support nor engage
It is probably an accurate assessment that the                   in illegal activity.
Palestinian Islamic social welfare sector as a whole
is today affiliated with Hamas to one degree or                  Such safeguards should respond to the specific threat
another. It is moreover a matter of absolute certainty           that is alleged. The most effective way of achieving
that Hamas is engaged in social welfare activism for             this would be for the PA and the international
more than altruistic purposes. It consciously seeks to           community to adopt and uniformly enforce available
derive organisational benefit from serving the basic             international guidelines, such as those formulated by
needs of its people – and friend and foe alike share             the Financial Action Task Force on Money
the view that it does this particularly well. In this            Laundering (FATF).186 These guidelines call for,
respect, ICG’s findings corroborate the impressions              inter alia, financial transparency, programmatic
of virtually every observer who has studied Hamas;               verification, and oversight by both governments and
the leaders of the movement themselves ascribe a                 private sector organisations such as financial
significant if not primary role to Islamic social                institutions.187 The PA should be offered technical
welfare activism in explaining the growth and                    assistance, preferably by relevant international
enduring popularity of the Islamist movement.                    organisations, to help it meet the challenge. The
                                                                 clear objective of such an effort would be to ensure
To the extent that providing for the needs of                    that funds are transferred directly to the accounts of
Palestinian society has played a role in enabling                Islamic social welfare organisations and properly
Hamas develop a military infrastructure that on                  disbursed, and that action is taken against
numerous occasions has attacked Israeli civilians                institutions that violate their humanitarian mandates,
with the express purpose of inflicting maximum                   for instance by transferring funds to organisations
casualties, the sector as a whole cannot but be a                that deliberately target civilians.
source of serious concern. In a related vein, the same
could be said with respect to the emerging reality of            Palestinian Islamic charitable institutions claim they
a parallel Islamist authority, challenging a steadily            already comply with the PA’s Law on Charitable
disintegrating PA in some regions of the occupied                Societies and Civic Associations and the regulations
Palestinian territories during the past year.185                 governing zakat committees; they should be put to
                                                                 the test. The PA should be rigorous about enforcing
How one deals with such concerns is, however, an                 the law, which should be strengthened where
entirely different matter. Where the cover of social             necessary to be in line with the recommendations of
welfare activism is demonstrably abused to engage in             the FATF, and should pass the draft law regulating
other activities – military or otherwise – the PA and            zakat committees without further delay. Given the
the international community as a whole are                       record of PA relations with NGOs, and concerns
confronted with a clear case for holding those                   about its heavy-handed monitoring, a strong and
responsible to account. Few if any such cases so far             independent expert committee should assist and
have come to light and the problem may, indeed, be               supervise the monitoring efforts.
far less widespread than the U.S. and Israel believe.
Nevertheless, and particularly in view of the repeated           Ensuring that staff do not abuse their authority over
allegations that charitable funds are being diverted             students, and thus ensuring the integrity of the
for military purposes, strict safeguards are needed.             education process in the West Bank and Gaza Strip,
The application of rigorous guidelines additionally              is first and foremost the responsibility of the PA
would serve to remove the cloud of suspicion from                Ministry of Education. The PA should assign
                                                                 inspectors from the Ministry to actively monitor the
                                                                 educational centres run by Islamic organisations
185
    Hamas is particularly powerful in Gaza. According to some
Palestinians, it is currently manning its own checkpoints. ICG
telephone interview, Gaza, February 2003. Mahmoud Zahar,
                                                                 186
a Hamas leader in Gaza, stated that the organisation now had         The FATF is an intergovernmental body founded at the
the infrastructure to assume leadership of the Palestinians      G7 meeting in Paris in 1989 to monitor implementation of
"politically, financially and socially". Dan Ephron, "Mideast:   measures against money laundering.
                                                                 187
Hamas on the Rise", Newsweek, 9 February 2003, available             For full details see FATF, “Combating the Abuse of Non-
at stacks.msnbc.com/news/870466.asp.                             Profit Organisation”, op. cit.
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and ensure that religious instruction is not used to             formally accepted a detailed set of commitments
promote intolerance and incite violence.                         proposed by Catherine Bertini, Personal
                                                                 Humanitarian Envoy of the UN Secretary-General,
At present, the international community speaks with              designed to alleviate the humanitarian emergency in
numerous, contradictory voices and acts in often                 the West Bank and Gaza Strip. The agreed measures,
confusing and self-defeating ways. Unwarranted zeal              which sought to minimise Israeli obstruction of
by the U.S. is matched by excessive laxity by certain            Palestinian access to health care, education, water
Gulf states. In both cases, the test ought to be the             and sanitation, employment, and humanitarian
same: whether the charitable institution in question             services provided by the UN and other international
can be shown to have transferred monies to fund the              and local agencies,192 were personally approved by
military activities of Hamas or some other Palestinian           Prime Minister Ariel Sharon, then-Defence Minister
paramilitary organisation, or whether its educational            Binyamin Ben-Eliezer, and then-Foreign Minister
teachings promote intolerance or violence .188                   Shimon Peres.193 Yet, since that date, Israel has
                                                                 consistently failed to meet these obligations.194
Apart from cracking down on illicit activity, the PA
and the international community should take steps to             The most recent statement by the Quartet envoys
create alternative sources of social and humanitarian            stressed “Israel’s obligation, consistent with
assistance to a population in desperate need of both.            legitimate security concerns, to do more to ease the
The donor community should significantly increase                dire humanitarian and socio-economic situation in
its aid and in particular respond to the urgent appeals          the West Bank and Gaza, including facilitating
from UN agencies. Although international donors                  freedom of movement and access, alleviating the
pledged roughly U.S.$700 million to the PA, the                  daily burdens of life under occupation, and
World Bank has estimated that at least U.S.$1.1                  respecting the dignity of Palestinian civilians”.195
billion is needed.189 Palestinians not affiliated with           As long as these steps are not implemented, the
Hamas should set up their own network of credible                predominant role of Hamas-affiliated institutions is
and effective social welfare organisations. The PA               unlikely to be affected.
should at least begin the long overdue process of
establishing a functioning welfare system; the                   Beyond this lies the complex and longer-term
international community and international financial              challenge of how to deal with Hamas. A hybrid
institutions ought to work with Palestinian officials            consisting of social, political and military activism,
on this task.190                                                 with powerful roots among Palestinians and strong
                                                                 ties to foreign supporters in Damascus, Tehran and
Of course, much of this will remain in the sphere of             elsewhere, it has from the outset had an ambivalent
wishful thinking should practical conditions on the              relationship to the question of political leadership.
ground remain as they are or, worse, deteriorate.
Despite repeated commitments to the U.S.
administration and others in the international                   192
                                                                     Catherine Bertini, “Mission Report: 11-19 August 2002”,
community, Israel continues to impose draconian                  pp. 26-28 at http://domino.un.org/ bertini_rpt.htm. Among
conditions on the Palestinian population and on                  the specific measures agreed were: “Palestinian ambulances
humanitarian aid agencies.191 In August 2002, Israel             will wait no more than 30 minutes at any checkpoints”;
                                                                 “Palestinians seeking critical medical services (e.g. giving
                                                                 birth, dialysis, chemotherapy) can quickly pass all
                                                                 checkpoints”; “daily water deliveries in proper quantities can
188
    There are unconfirmed reports that, in the context of the    be supplied by Palestinian water tankers”; and “Israel should
intra-Palestinian dialogue, Egypt has threatened to hinder       ensure that all children, students and teachers have full
Hamas fund-raising in Arab countries if it were to refuse a      access to schools and universities throughout the West Bank
cease-fire. Ephron, “Hamas on the Rise,” op. cit.                and Gaza”; “immediate measures to allow farmers to harvest
189
    World Bank, “Two Years of Intifada”, op. cit.                olives”; “ensure full respect of the privileges and immunities
190
     The PA recently asked the World Bank for help in            of all UN staff and assets”; and “urgently accelerate the
“reviewing Palestinian social safety nets”. That work ought      release of funds [Israel] holds on behalf of the Palestinian
to be encouraged. See World Bank, “Fifteen Months,” op.          Authority”.
                                                                 193
cit., p. 90.                                                         ICG interview, UNSCO official, February 2003.
191                                                              194
     According to a World Bank report, “No Palestinian                ICG interview, UNSCO official, February 2003, who
economic recovery is possible without the removal or             noted that the UN Security Council had been apprised of the
significant reduction on current restrictions on the internal    lack of progress on a monthly basis.
                                                                 195
movement of Palestinian people and goods”. Cited in ibid;            Joint Statement of Quartet Envoys, London, 20 February
see also World Bank, “Two Years of Intifada”, op. cit.           2003.
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The exercise of steering Hamas toward a political as               Regardless, shutting down or financially squeezing
opposed to military orientation hinges on a number                 organisations whose conduct is beyond reproach on
of factors relating to domestic Palestinian and                    account of a proven link to Hamas is neither a viable
international politics and is by no means a sure                   nor effective response. With no alternative sources
thing. Some students of the movement have                          of support available to hundreds of thousands of
concluded that Islamist social welfare activism is not             current beneficiaries, the dramatic increases in
so much the precursor to its violent struggle as it is             Palestinian poverty levels would only produce
“a self-conscious substitute for armed action”.196 If              “further erosion of the coping capacity of the
this is indeed the case, it is an argument for seeking             population, reinforced social despair, and a climate
the firm and full integration of the Islamic social                more conducive to violence”.197 In addition to
sector within Palestinian civil society. It also invites           violating fundamental humanitarian principles, such
creative approaches that encourage the movement as                 measures would also run the risk of rather
a whole to re-orient its policies and priorities, and              thoroughly defeating the very objectives they were
prepare itself to emerge as Islamism’s advocate                    meant to achieve. While poverty and humanitarian
within a pluralistic and democratic Palestinian state              despair are not the engine of the Israeli-Palestinian
living in peace and mutual recognition with Israel                 conflict, the available evidence, both from the 1987-
and in which neither it nor its competitors seek                   1993 uprising and even more so during the past two
dominance on the basis of repressive violence.                     years, suggests that these factors have an ability to
                                                                   fuel it to new heights.
                                                                                      Amman/Brussels, 2 April 2003




                                                                   197
                                                                      Ad Hoc Liaison Committee, Informal Donor Meeting,
196
      Shadid, Legacy of the Prophet, op. cit., p. 112.             Oslo, April 25, 2002, Chair’s summary.
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                                                           APPENDIX A

                        MAPS OF THE OCCUPIED PALESTINIAN TERRITORIES


MAP OF THE GAZA STRIP                                                                               MAP OF THE WEST BANK

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                            ABOUT THE INTERNATIONAL CRISIS GROUP


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with over 90 staff members on five continents,                   affected countries and territories across four
working through field-based analysis and high-level              continents.
advocacy to prevent and resolve deadly conflict.
                                                                 In Africa, those countries include Burundi, Rwanda,
ICG’s approach is grounded in field research. Teams              the Democratic Republic of Congo, Sierra Leone-
of political analysts are located within or close by             Liberia-Guinea, Somalia, Sudan and Zimbabwe; in
countries at risk of outbreak, escalation or recurrence          Asia, Indonesia, Myanmar, Kyrgyzstan, Tajikistan,
of violent conflict. Based on information and                    Uzbekistan, Pakistan, Afghanistan and Kashmir; in
assessments from the field, ICG produces regular                 Europe, Albania, Bosnia, Kosovo, Macedonia,
analytical      reports      containing       practical          Montenegro and Serbia; in the Middle East, the
recommendations targeted at key international                    whole region from North Africa to Iran; and in Latin
decision-takers.                                                 America, Colombia.

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chaired by former Finnish President Martti                       Merck Fund, Charles Stewart Mott Foundation,
Ahtisaari; and its President and Chief Executive                 Open Society Institute, Ploughshares Fund, The
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Foreign Minister Gareth Evans.                                   Peace Foundation, the Sarlo Foundation of the
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